 Case 2:23-cv-02568-JGB-SP Document 28-2 Filed 04/18/23 Page 1 of 75 Page ID #:191




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2
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7    Fax No.: (213) 978-7011
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     CITY OF LOS ANGELES, CITY OF LOS ANGELES POLICE
9    DEPARTMENT, MICHEL R. MOORE
10
11                      UNITED STATES DISTRICT COURT
12                    CENTRAL DISTRICT OF CALIFORNIA
13
14
15   PHILLIP URQUIDI;                           CASE NO. 2:23-cv-02568-JBG-SP
16                      Plaintiff,              DEFENDANT CITY OF LOS
17         vs.                                  ANGELES’S REQUEST FOR
                                                JUDICIAL NOTICE IN SUPPORT
18   CITY OF LOS ANGELES, a municipal           OF OPPOSITION TO
19   corporation; CITY OF LOS ANGELES           PLAINTIFF’S EX PARTE
     OFFICIAL POLICE GARAGE, a non-profit
     corporation; CITY OF LOS ANGELES           APPLICATION FOR
20   POLICE DEPARTMENT, a public entity;        TEMPORARY RESTRAINING
21   MICHEL R. MOORE, in his official           ORDER
     capacity; and JON’S TOWING, INC., a
22   California Corporation.
                                                [Filed concurrently with Opposition to
23                    Defendants.               Ex Parte Application for TRO and
                                                Declaration of Reynaldo Martinez]
24
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      REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF OPP. TO APP. FOR TRO
 Case 2:23-cv-02568-JGB-SP Document 28-2 Filed 04/18/23 Page 2 of 75 Page ID #:192




1          TO THIS HONORABLE COURT AND TO ALL PARTIES AND THEIR
2    COUNSEL:
3          PLEASE TAKE NOTICE THAT pursuant to Federal Rules of Evidence, Rule
4    201, Defendant City of Los Angeles respectfully requests that the Court take judicial
5    notice of the following exhibits in support of its Opposition to Plaintiff’s Ex Parte
6    Application for a Temporary Restraining Order:
7          •      Criminal Protective Order – Domestic Violence, People v. Urquidi, Los
8          Angeles County Superior Court Case No. 3VW01025, dated January 4, 2023, a
9          true and correct copy of which is attached as Exhibit A;
10         •      California Secretary of State, Statement of Information, Jon’s Towing,
11         Inc., filed May 16, 2022, a true and correct copy of which is attached as Exhibit
12         B;
13         •      First Amended and Restated Agreement No. C-129766 Between the City
14         of Los Angeles and Jon’s Towing, Inc., a true and correct copy of which is
15         attached as Exhibit C;
16         •      Los Angeles Municipal Code § 21.15.2, a true and correct copy of which
17         is attached as Exhibit D;
18         •      Los Angeles Municipal Code § 80.77.1, a true and correct copy of which
19         is attached as Exhibit E;
20         •      The City of Los Angeles Webpage titled, “Winter Shelters Open for
21         People Experiencing Homelessness,” dated February 22, 2023, a true and
22         correct copy of which is attached as Exhibit F and can be accessed at
23         https://lacity.gov/highlights/winter-shelters-open-people-experiencing-
24         homelessness.
25   The content of court records, Los Angeles Municipal Code sections, documents on
26   government websites, and government records may be judicially noticed under Fed. R.
27
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      REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF OPP. TO APP. FOR TRO
 Case 2:23-cv-02568-JGB-SP Document 28-2 Filed 04/18/23 Page 3 of 75 Page ID #:193




1    Evid. § 201 as it can be accurately and readily determined from sources whose
2    accuracy cannot reasonably be questioned. Daniels-Hall v. Nat’l Educ. Ass’n, 629
3    F.3d 992, 998-99 (9th Cir. 2010) (“It is appropriate to take judicial notice of this
4    information, as it was made publicly available by government entities. . . and neither
5    party disputes the authenticity of the web sites or the accuracy of the information
6    displayed therein.”); Santa Monica Food Not Bombs v. City of Santa Monica, 450 F.3d
7    1022, 1025, n.2 (9th Cir. 2006) (judicial notice of city ordinances is proper); U.S. v.
8    Howard, 381 F.3d 873, 876, n.1 (9th Cir. 2004) (a court may take judicial notice of
9    court records of another case); Bassilios v. City of Torrance, 166 F.Supp.3d 1061,
10   1065, n.1 (C.D. Cal. 2015) (taking judicial notice of municipal code).
11
12   Dated: April 18, 2023         HYDEE FELDSTEIN SOTO, City Attorney
                                   SCOTT MARCUS, Chief Assistant City Attorney
13                                 GABRIEL S. DERMER, Assistant City Attorney
14                                 JOSEPH S. PERSOFF, Deputy City Attorney
15                                 By:    /s/ Gabriel S. Dermer
16                                       Gabriel S. Dermer
                                         Assistant City Attorney
17
                                         Attorneys for Defendants
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      REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF OPP. TO APP. FOR TRO
Case 2:23-cv-02568-JGB-SP Document 28-2 Filed 04/18/23 Page 4 of 75 Page ID #:194




                          EXHIBIT A




                                   Exhibit A
                                      1
                         Case 2:23-cv-02568-JGB-SP Document 28-2 Filed 04/18/23 Page 5 of 75 Page ID #:195


            SUPERIOR COURT O£.CALl.EORNIA, COUNTY OF                                                                              -                                                                 FOR COURT USE ONLY
              STREET ADDRESS:                            ~UPERJOA COURT OF LOS ANGELES                                                                                                                      DCOPY
              MAILING ADDRESS                            NORTHWEST DISTRICT-VAN NUYS '                                                                                                              ALf'IL.:.....
                                                                                                                                                                                               Couo!t ollC
            CITY AND ZIP CODE:                           "t-4400 ERWIN STREET MALL                                                                                                              o1u,sAfl98'88
                    BRANCH NAME:                         VAI\J'~YS CALIF 91401
                                                  PEOPLE OF THE STATE OF CALIFORNIA                                                                                                       JAN 04 2~23
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   (j                CRIMINAL PROTECTIVE ORDER-DOMESTIC VIOLENCE
  \2:\.                         ,,. "
                         (CLETS - CPO) (Pen. Code,§§ 136.2, 1203.097(a)(2),
                ·'             136.2(i)(1 ), 273.S{j), 368(/), and 646.9(k))
           cefoRDER UNDER PENAL CODE,§ 136.2                 CJ MODIFICATION
           CJ PROBATION CONDITION ORDER (Pen. Code,§ 1203.097)
           ORDER UNDER:   CJ PENAL CODE,§ 136.2(i)(1) CJ PENAL CODE,§ 273.50)
                                                             CJ           PENAL CODE, § 368(/)                                CJ PENAL CODE, § 646.9(k)
                                             This Order May Take Precedenc~ Over Other Conflicting Orders; Se.e Item 4 on Page 2.
            PERSON T,P<BE RESTRAl~ED (complete.!Jpme)·                                 ,-;<].,A/~  Vf    Jl I ',    r· }·'\ ,. ,                                      l
            Sex:        [~::f'M             CJ F                  Ht.(DC\ Wt.:f8'~Haircol9r:                             ,'(,,r()     Eyecolor:YILJ.CRace:                -t-f   Age:~Dateofbirth:'                              1-
           1. This proceeding was hearrl 0n ,,1o1o_1• _I -i I l                                                   -:.>       at (time):                               in Dept.: /    0 )                Room:
              by judicial officer (name). -::r:-e..s.I <........ ~
           2. This order expires on (date):                          . If no date is listed, this order expires three years from date of issuance.
           3. I •,_.,-,( Defendant was personally served with a copy of this order at the court h~aring, and no additional proof of serv1ice of this o,rder
~
zt
           4. FULL ~~:t:~E. AND GENDER OF EACH PROTECTED PERSON:                                                                                      'r~ /     0   f     z_ . Vl         ti , ( r). ( l '1 j .              ~




r-,...     5.      CJ
                 For good cause shown, the court grants the protected-J)ersons named above the exclusive care, possession, and control of
-               the following animals:
~ 6. CJ The court has information that the defendant owns or has a firearm or ammunition, or both.                                ,        ~ ~. .
~ .c;C)QD CAUSE APPEARING, THE COURT ORDERS THAT THE ABOVE-NAMED DEFENDANT                                                        ·24 JAN :l5 20,56
~ (J_.,-must not harass, strike, threaten, assault (sexually or otherwise), follow, stalk, molest, destroy or damage personal or real property,
~ r\disturb the peace, keep under surveillance, or block movements of the protected persons named above.
  / 8. lmust not own, possess, buy or try to buy, receive or try to receive, or otherwise obtain a firearm or ammunition. The
  \...._/defendant must surrender to local law enforcement, or sell to or store with a licensed gun dealer any firearm owned by the
         defendant or subject to his or her immediate possession or control within 24 hours after service of this order and must
         file a receipt with the court showing compliance with this order within 48 hours of receiving this order.
         CJ The court finds good cause to believe that the defendant has a firearm within his or her immediate possession or control and
               sets a review hearing for (date):                                           to ascertain whether the defendant has complied
               with the firearm relinquishment requirements of Code Civ. Proc.,§ 527.9. (Cal. Rules of Court, rule 4.700.)
         CJ The court has made the necessary findings and applies the firearm relinquishment exemption under Code Civ. Proc.,
   .           § 527.9(f).The defendant is not required to relinquish this firearm (specify make, model, and serial number of firearm) :

         / \ must not attempt to or actually prevent or dissuade any victim or witness from attending a hearing or testifying or making a report to
         l.:J any law enforcement agency or person.
           1O. must take no action to obtain the addresses or locations of protected persons or their family members, caretakers, or guardian
               unless good cause exists otherwise. CJ The court finds good cause not to make the order in item 10.
           11.     Dmust be placed on electronic monitoring for (specify length of time):                              . (Not to exceed 1 year from
                   _!hefdate of this order. Pen. Code, § 136.2(a)(1 )(G)(iv) and Pen. Code,§ 136.2(i)(3).)
           12.     LJ~st have no personal, electronic, telephonic, or written contact with the protected persons named above.
           13. LJ,d1n~$t have no contact with the protected persons named above through a third party, except an attorney of record.
           14.     rn
                    fi'lust not come within 1::,. · -:.,yards of the protected persons and animals named above.
           15. CJ must not take, transfer, sell, encumber, conceal, molest, attack, strike, threaten, harm, or otherwise dispose of the animals
                    described in item 5.
           16. CJ may have peaceful contact with the protected persons named above, as an exception to the "no-contact" or "stay-away"
                    provision in item 12, 13, or 14 of this order, only for the safe exchange of children and court-ordered visitation as stated in:
               a. CJ the Family, Juvenile, or Probate court order in case number:                                issued on (date):         ·
               b. C2J any Family, Juvenile, or Probate court order issued after the date this order is signed.
           17. D2f The protected persons may record any nroh1bited commra·.at1ons made by the restrained person.
                                                                                                         ~"""~~~.                           \
           18.     D            Other ~ ers including stay-aw?~~•cjti.c lo at1ons~ .- _                                                                     ·

           Executed on:
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           Judicial Council of California
           CR-160 (Rev. January 22, 20191                                                                                      Exhibit A
                                                                                                                               LETS-CPO)
                                                                                                                                                                                                273.50), 368{0, 646.9(k), and 136.2(i)(1)
                                                                                                                                                                                                                      www.courts.ca.gov
           Approved by Department of Justice
                                                                                                                                  2
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Case 2:23-cv-02568-JGB-SP Document 28-2 Filed 04/18/23 Page 6 of 75 Page ID #:196




                          EXHIBIT B




                                   Exhibit B
                                      3
   Case 2:23-cv-02568-JGB-SP Document 28-2 Filed 04/18/23 Page 7 of 75 Page ID #:197




                                                                                                                                                       B0741-4040 05/16/2022 2:33 PM Received by California Secretary of State
                                                                                                                                  BA20220225679

                         STATE OF CALIFORNIA                                                                             For Office Use Only
                         Office of the Secretary of State
                         STATEMENT OF INFORMATION                                                                         -FILED-
                         CORPORATION
                         California Secretary of State                                                         File No.: BA20220225679
                         1500 11th Street                                                                      Date Filed: 5/16/2022
                         Sacramento, California 95814
                         (916) 653-3516



Entity Details
  Corporation Name                                                            JON'S TOWING INC.
  Entity No.                                                                  0475538
  Formed In                                                                   CALIFORNIA
Street Address of Principal Office of Corporation
  Principal Address                                                           7930 DEERING AVE.
                                                                              CANOGA PARK, CA 91304
Mailing Address of Corporation
  Mailing Address                                                             9030 NORRIS AVENUE
                                                                              SUN VALLEY, CA 91352
  Attention
Street Address of California Office of Corporation
  Street Address of California Office                                         7930 DEERING AVE.
                                                                              CANOGA PARK, CA 91304
Officers

            Officer Name                      Officer Address                                         Position(s)

   HOVIG GABOUDIAN                 9030 NORRIS AVENUE                    Chief Executive Officer, Secretary, Chief Financial Officer
                                   SUN VALLEY, CA 91352


Additional Officers

                 Officer Name                          Officer Address                     Position                      Stated Position

                                                                    None Entered


Directors

                                 Director Name                                                        Director Address

   Hovig Gaboudian                                                            9030 Norris Avenue
                                                                              Sun Valley, CA 91352

  The number of vacancies on Board of Directors is: 0

Agent for Service of Process
  Agent Name                                                                  Hovig Gaboudian
  Agent Address                                                               9030 NORRIS AVENUE
                                                                              SUN VALLEY, CA 91352
Type of Business
  Type of Business                                                            TOWING SERVICE
Email Notifications
  Opt-in Email Notifications                                                  No, I do NOT want to receive entity notifications via email. I
                                                                              prefer notifications by USPS mail.
Labor Judgment
  No Officer or Director of this Corporation has an outstanding final judgment issued by the Division of Labor
  Standards Enforcement or a court of law, for which no appeal therefrom is pending, for the violation of any wage
  order or provision of the Labor Code.               Exhibit B
                                                                          4
                                                                                                                                               Page 1 of 2
   Case 2:23-cv-02568-JGB-SP Document 28-2 Filed 04/18/23 Page 8 of 75 Page ID #:198




                                                                                                                                          B0741-4041 05/16/2022 2:33 PM Received by California Secretary of State
Electronic Signature

       By signing, I affirm that the information herein is true and correct and that I am authorized by California law to sign.


  Hovig Gaboudian                                                    05/16/2022
  Signature                                                          Date




                                                            Exhibit B
                                                               5
                                                                                                                                  Page 2 of 2
Case 2:23-cv-02568-JGB-SP Document 28-2 Filed 04/18/23 Page 9 of 75 Page ID #:199




                          EXHIBIT C




                                   Exhibit C
                                      6
Case 2:23-cv-02568-JGB-SP Document 28-2 Filed 04/18/23 Page 10 of 75 Page ID #:200




                   CONTRACT SUMMARY SHEET

TO:     THE OFFICE OF THE CITY CLERK             DATE: June 25, 2021
        COUNCIL/PUBLIC SERVICES DIVISION
        ROOM 395, CITY HALL


          (PLEASE DO NOT STAPLE THE CONTRACT FOR THE CLERK’S FILE)


                             FORM MUST BE TYPEWRITTEN


FROM (DEPARTMENT): Los Angeles Police Department - Commission Investigation Division


CONTACT PERSON: Detective Corey Harmon           PHONE NO: (213) 996-1270


CONTRACT NO.:      C129766                       COUNCIL FILE NO.:




ADOPTED BY COUNCIL: February 7. 2017                 NEW CONTRACT___
                                                     AMENDED AND RESTATED _JL
                                                     ADDENDUM NO.___
APPROVED BY BPW:                                     SUPPLEMENTAL NO.___
                                                     CHANGE ORDER NO.___
                                                     AMENDMENT



CONTRACTOR NAME: Jon’s Towing Inc.


TERM OF CONTRACT: February 7, 2017                   Through February 6, 2022
EXTENDED TERMS                                       Through;_______________


TOTAL AMOUNT:


PURPOSE OF CONTRACT: Official Police Garage towing and storage for Service Area 10 -
change of ownership


                                     Exhibit
      NOTE: CONTRACTS ARE PUBLIC RECORDS      C
                                         - SCANNED AND UPLOADED TO THE INTERNET
                                         7
Case 2:23-cv-02568-JGB-SP Document 28-2 Filed 04/18/23 Page 11 of 75 Page ID #:201




              FIRST AMENDED AND RESTATED AGREEMENT NO. C-129766
                        BETWEEN THE CITY OF LOS ANGELES
                                       AND
                                JON’S TOWING INC.
          FOR OFFICIAL POLICE GARAGE TOWING AND STORAGE SERVICES FOR
                                 SERVICE AREA 10



     THIS FIRST AMENDED AND RESTATED AGREEMENT No. C-129766 is entered into
     by and between the City of Los Angeles (hereinafter referred to as the “City”), a
     municipal corporation, acting by and through the Board of Police Commissioners
     (hereinafter referred to as the “Board"), and Jon’s Towing Inc., a California corporation
     (hereinafter referred to as the “Contractor", or the “Official Police Garage”, or the
     “QPG”),

     WHEREAS on February 25, 2013, the Board approved, and on December 6, 2013, the
     City Council approved the template agreement applicable to all City official police
     garages upon which this Agreement is based;

    WHEREAS, pursuant to a Request for Proposals (RFP) process, the City’s OPG
    Review Committee determined that Howard Sommers Towing, Inc. was the best
    qualified firm to provide standard-duty towing and storage services as an official police
    garage for Service Area 10 of the LAPD, and thus recommended that a Contract be
    awarded to Howard Sommers Towing, Inc.

    WHEREAS, on December 6, 2016, the Board approved the OPG Review Committee’s
    recommendation to award a contract to Howard Sommers Towing, and forwarded the
    recommendation to City Council;

    WHEREAS, on February 7, 2017, the City Council approved the award of contract for
    Service Area 10 to Howard Sommers Towing, Inc. and on June 27, 2017 the City and
    Howard Sommers, Inc. entered into Agreement Number C-129766 (the “Original
    Contract”).

    WHEREAS, on February 9, 2021, the Board approved and on April 7, 2021 the City
    Council approved, the sale and transfer of Howard Sommers Towing, Inc., to
    Contractor.

    WHEREAS, the sale and transfer of Howard Sommers Towing, Inc. to Contractor is
    completed, Contractor has agreed to be bound by governing City ordinances and the
    terms and conditions of the Original Contract, City has consented to Contractor’s
    assumption of the rights and obligations of the Original Contract, and City and
    Contractor desire to amend and restate the Original Contract accordingly.




    City ofLos Angeles (LAPD) - Jon s Towing, Inc                                          Page 1 of33
    Official Police Garage Towing and Storage - First Restated and Amended Contract C-129766
                                               Exhibit C
                                                  8
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     MOW THEREFORE, in consideration of the premises, and the mutual covenants and
     agreements herein contained, the parties hereto represent and covenant as follows:

     1.0    PARTIES TO THE AGREEMENT, REPRESENTATIVES, AMD NOTICES

            1.1     Parties to the Agreement

                    The parties to this Agreement are:

                    a) City - The City of Los Angeles, a municipal corporation, having its
                       principal office at 200 Worth Spring Street, Los Angeles, California
                       90012.

                    b) Contractor- Howard Sommers Towing, Inc., a California for-profit
                       corporation, having its principal office at 7891 Peering Avenue,
                       Canoga Park, CA 91304-5008,

            1.2     Representatives of the Parties

                   The representatives of the respective parties who are authorized to
                   administer this Agreement and to whom formal notices, demands and
                   communications will be given are as follows:

                   a. Unless otherwise stated in this Agreement, the representative of the
                      City will be:

                       Eileen Decker, President
                       Los Angeles Police Commission
                       100 West 1st Street, Room 147
                       Los Angeles, California 90012

                       With copies to:

                       Richard M. Tefank
                       Executive Director
                       Los Angeles Police Commission
                       100 West 1st Street,. Room 147
                       Los Angeles, California 90012
                       Telephone:       (213) 236-1400
                       Facsimile:       (213) 236-1410

                   b. The representatives of the Contractor will be:
                      Name:            Hovig Gaboudian
                      Title:           Owner




    City ofLos Angeles (LAPD) -Jon's Towing, Inc                                           Page 2 of33

                                               Exhibit C
    Official Police Garage Towing and Storage - First Restated and Amended Contract C-129766

                                                  9
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                        Company;           Jon’s Towing Inc.
                        Address #1;        7930 Peering Avenue
                        Address #2:        Canoga Park, CA 91304
                        Telephone:         (818) 884-5600
                        Facsimile:         (818) 771-1178
                        Email:            jonstowinginc@yahoo.com

            1.3     Notices

                    Formal notices,, demands and communications to be given hereunder by
                    either party must be made in writing and may be effected by persona!
                    delivery or by registered or certified mail, postage prepaid, return receipt
                    requested and will be deemed communicated as of the date of mailing.
                    If the name of the person designated to receive the notices, demands or
                    communications or the address of such person is changed, written notice
                    must be given, in accord with this section, within five (5) working days of
                    said change.

    2.0     TERM OF THE AGREEMENT

            The term of this Agreement wiS! commence upon February 7, 2017 and will
            terminate five (5) years thereafter. The City may, at its sole option, extend the
            term of the Agreement for up to one (1) additional five (5) year period or any
            portion thereof, subject to satisfactory performance by the Contractor, and
            subject to approvai by the City Counci!. This Agreement is subject to the
            termination provisions herein.

            2.1    Ratification Clause

                   Due to the need for Contractor’s services to be provided upon the
                   commencement of the Term hereof, Contractor may have provided
                   services during the Term but prior to the execution of this Agreement. To
                   the extent that said services were performed in accordance with the terms
                   and conditions of this Agreement, those services are hereby accepted by
                   the City and shall be treated as services performed under the terms and
                   conditions of this Agreement.

    3.0    GENERAL SCOPE OF SERVICES

           3.1     General Duties

                   a. The OPG will respond to and provide standard-duty vehicle towing and
                      storage services upon request by any Police Officer or Traffic Officer
                      employed by the City of Los Angeles or other employee of the City
                      authorized to request such service (hereinafter collectively referred to
                      as “authorized City employee”), including:



    City ofLos Angeles (LAPD) -Jon ’$ Towing, Inc                                          Page 3 of33
                                                 Exhibit C
    Official Police Garage Towing and Storage - First Restated and Amended Contract C-129766

                                                    10
Case 2:23-cv-02568-JGB-SP Document 28-2 Filed 04/18/23 Page 14 of 75 Page ID #:204




                             Police Officers of the Los Angeles Police Department;
                             Police Officers of the Port of Los Angeles;
                             Police Officers of the City of Los Angeles World Airports;
                             Traffic Officers of the City of Los Angeles, Department of
                            Transportation;
                            Authorized employees of the City of Los Angeles, Department of
                             Building & Safety;
                            Authorized employees of the City of Los Angeles, Department of
                            Public Works;
                            Authorized employees of the City of Los Angeles, Department of
                            Recreation and Parks; and
                            Representatives of any other City agency that are authorized in the
                            removal of vehicles for the purpose of impound, storage,
                            investigation, or forfeiture.

                    b. Typical towing situations wiil include, but are not limited to the removal,
                       towing and storage of: illegally parked vehicles; vehicles disabled as
                       the result of traffic accidents; abandoned vehicles; vehicles seized for
                       evidentiary examination; abated vehicles; and, vehicles subject to
                       forfeiture proceedings.

                    c. Requests for service will be made as to vehicles located on highways,
                       public rights-of-ways, public property, and private property within the
                       Contractor's Service Area of assignment, as specified below.

                    d. “Standard-duty” service is defined as relating to the towing and
                       storage of vehicles weighing 10*000 pounds or less, or that do not
                       otherwise constitute heavy-duty vehicles as defined below.

                   e. “Heavy-duty” service is defined as relating to vehicles possessing
                      one or more of the following:

                           Three (3) or more axles;
                           A gross weight rating in excess of 10,000 GVWR;
                           A combination of commercial trailers;
                           Vehicle is longer than thirty (30) feet in length {including tongue);
                           Wider than eight (8) feet In width utilizing a fifth wheel hitch or
                           pintle;
                           The condition or position of the vehicle to be removed necessitates
                           heavy-duty towing equipment.

                   f.   The determination of whether standard-duty or heavy-duty services are
                        required for a given situation is solely within the discretion of the City’s
                        impounding employee.



    City ofLos Angeles (LAPD) - Jon's Towing, Inc                                          Page 4 of33

                                                Exhibit C
    Official Police Garage Towing and Storage * First Restated and Amended Contract C-129766

                                                   11
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                    g. The Contractor wilt not be required to provide heavy-duty towing
                       services under this Agreement.

            3.2     Service Area of Assignment - Service Area 10

                    a. The Contractor will operate as the Official Police Garage (OPG) for
                       Service Area 10 of the Los Angeles Police Department, which is
                       depicted in Attachment A - Map of Los Angeies Police Department
                       Service Area 10,

                    b. The OPG may exceed its Service Area of assignment when
                       responding to a specific request from an authorized City employee.

                    c. The OPG may respond outside of its designated Service Area of
                       assignment at the request of another OPG responsible for that other
                       area, as provided for below in Section 3.2(e).

                   d. At the City’s sole option, the Contractor may be assigned to handle
                      requests for service for a different Service Area on a temporary basis
                      in the event the contractor for such other area is unable to handle the
                      request due to operational or staffing problems, or suspension or
                      termination of their contract.

                   e. The OPG must provide the services required under this Agreement
                      within the Service Area of assignment, if the assigned OPG is unable
                      to respond to a specific request for service, the assigned OPG may
                      request another OPG to respond on the assigned OPG's behalf,
                      provided that the assigned OPG notifies the requesting City agency’s
                      communication facility immediately of which other OPG will be
                      responding on the assigned OPG's behalf.

           3.3     Hours of Operation

                   a. The OPG must respond to calls from authorized City employees
                      twenty-four (24) hours a day, seven (7) days a week within the
                      Maximum Response Time, as defined in Section 3.4 of this
                      Agreement.

                   b. The OPG’s dispatcher must be on duty in the business office of the
                      OPG twenty-four (24) hours a day, seven (7) days a week. The
                      dispatcher must receive calls from City agencies and dispatch tow
                      units to provide security for stored vehicles, and perform such other
                      towing and storage related services as may be required by the Board
                      or its designee. This requirement may be waived upon written
                      application to the Board, a formal hearing and a finding of good cause
                      by the Board.



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                    c. The OPG's dispatcher must be available to release vehicles between
                       the hours of 7:00 a,m. and 7:00 p.m., seven (7) days a week, and may,
                       at the OPG’s sole discretion, release vehicles between the hours of
                       7:00 p.m. and 7:00 s.m. (referred to as “after-hours"), except as
                       provided for in Section 10.4 of this Agreement.

                    d. The OPG must provide immediate access to its business office and its
                       storage facilities and to vehicles stored therein, upon request by
                       concerned law enforcement personnel so as to avoid impeding any
                       criminal investigation.

            3.4     Maximum Response Time

                    a. Maximum Response Time is twenty (20) minutes from the time an
                       OPG dispatcher receives a request for service from an authorized City
                       employee until the time the tow unit arrives at the location designated
                       in the request for service, with due consideration given to reasonable
                       delays caused by unusual traffic conditions or other unusual
                       circumstances beyond the reasonable control and without the fault of
                       the OPG. The OPG must keep the requesting City agency
                       communications facility apprised of such delays in response time.

                    b. Notwithstanding the Maximum Response Time specified above, the
                       OPG must execute requests from the City’s Department of Building
                       and Safety to remove abandoned vehicles or vehicle parts from private
                       property within forty-eight (48) hours of the OPG receiving such
                       request.

                   c. The OPG must advise the City agency requesting service, at the time
                      of the request, if the OPG is unable to respond within the Maximum
                      Response Time or is unable to respond at all. If after accepting the
                      call, the OPG is unable to respond or will be delayed in responding,, the
                      OPG must immediately notify the requesting City agency
                      communications facility.

            3.5    Priority of Requests

                   a. The OPG must give first priority to requests for service made by
                      authorized City employees under this Agreement.

                   b. In the event that multiple City agency requests for service are received
                      at the same proximate time, the OPG dispatcher must assign response
                      priority to the request of the most urgent nature based upon
                      information the OPG’s dispatcher has received from the authorized
                      City employees requesting services.



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                    c. “First priority” will be determined as of the time that the request for
                       service is received, and priority will be assigned among the requests
                       for service that the OPG has received but to which the OPG is not
                       already engaged in responding.

            3.8     Response to Calls

                    a. The OPG and its employees responding to a cali from an authorized
                       City employee must perform the towing or service required for which
                       they were called. This requirement may be waived by the City’s
                       impounding employee if the impounding employee determines that the
                       requested equipment is inadequate for the service to be performed or
                       that the requested service is no longer needed. In the event that
                       service is waived by the City’s impounding employes, the OPG will
                       have no further obligation to perform the service initially requested.

                    b. Repeated failure to respond, repeated failure to meet the Maximum
                        Response Time, refusal to respond, or refusal to perform the required
                       towing or service for which the OPG was called shall constitute failure
                       to comply with the terms and conditions of this Agreement and may
                       subject the OPG to discipline, suspension, or termination of this
                       Agreement, if deemed appropriate, after written notice and hearing, by
                       the Board or its designee.

            3.7    Compliance with Laws, Rules and Regulation©

                   a, The OPG must conduct its business in a lawful manner and must, at ail
                      times, comply with ai! applicable focal, state and federal laws, rules
                      and regulations pertaining to OPGs, tow unit operators, and the
                      impound, removal, towing, storage and disposal of vehicles.

                   b. The OPG must comply with all rules and regulations that may from
                      time to time be promulgated by the Board regarding official police
                      garages. The Board shall cause such rules and regulations to be
                      printed and distributed to the OPGs affected thereby.

                   c. Upon direction by the Board or its designee, the OPG must keep rules
                      and regulations regarding its business as an Official Police Garage
                      posted in a conspicuous place clearly visible to the public at its primary
                      place of business, and when applicable, at its storage facilities.

                      Each OPG tow unit operator must have a copy of such specified rules
                      and regulations in his/her possession when operating an OPG tow unit
                      to enable him/her to inform Properly Interested Persons (as defined
                      below) of the OPG’s legal authority and responsibilities. The OPG tow



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                        unit operator or involved OPG employee must present .a copy of such
                        specified rules and regulations for review to the Properly Interested
                        Person in the event of a dispute regarding the removal or storage of
                        the vehicle. .

                    d. The term “Properly Interested Person” as used in this Agreement
                       means the legal owners and their agents, registered owner, lessees
                       and persons last having lawful possession of an impounded vehicle,
                       and who are in possession of the keys to the vehicle and have proper
                       personal identification and present adequate proof of their authority to
                       act on behalf of the legal or registered owner of the impounded vehicle.

                    e. OPG employees, while acting within the course of their employment,
                       must cause the appropriate law enforcement agency to be notified
                       without delay whenever they become aware of a possible crime or
                       other activity requiring action by law enforcement personnel.

            3.8    Demeanor and Conduct

                   a. The OPG must conduct business in an ethical and orderly manner so
                      as to maintain the confidence of the community. While the OPG is an
                      independent contractor, each contact it has with the public may reflect
                      upon the City. For that reason, and because of the inherent potential
                      for conflict in situations involving the removal and storage of vehicles,
                      the OPG and its employees must maintain a fair, impartial, and
                      reasonable attitude and must perform their duties in a courteous
                      manner.

                   b. The OPG and its managers and employees must extend courtesy and
                      cooperation at all times to the general public, law enforcement officers,
                      and other authorized City employees. The OPG’s tow unit operators
                      must abide by the lawful decisions of law enforcement officers and
                      other authorized City employees, and must cooperate in removing,
                      impounding, storing and disposing of vehicles and other related
                      activities.

                   c. Upon notification to the OPG by the Board or its designee of any
                      complaint of discourtesy or misconduct by an OPG employee, the
                      OPG must investigate such complaint and respond in writing to the
                      Board within ten (10) calendar days of receipt of notice of the
                      complaint. The Contractor’s response to the Board must include .
                      details about the result of its investigation, and, if the complaint was
                      found to be true, what measures the Contractor took to prevent similar
                      situations and resulting complaints from occurring in the future.




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            3.9     Timekeeping

                    The OPG must record the following times pertaining to requests for tow
                    service by authorized City employees by means of a computer or time
                    stamp:

                    1) The time that the request for tow service is received;

                    2) The time that a tow unit is assigned the call for service and given the
                       location of the requested service;

                   3) The time that a tow unit arrives at the location of requested service;

                       The time that the tow unit leaves the location of requested service with
                       the vehicle in tow.

                   5) The time that a tow unit arrives at the OPG facility with the vehicle;

                   6) The time that vehicle parts or accessories, or unattached personal
                      property is removed from an impounded vehicle; and

                   7) The time that a vehicle is removed from the Investigative Hold Area,
                      pursuant to Section 4.3 below.

            3.10   Towing of City Owned Vehicles

                   The OPG must tow City owned vehicles without charge to the City as
                   follows:

                          The Contractor will be required to tow and store designated City*
                          owned emergency vehicles in need of Standard Duty Towing
                          and/or Storage without charge to the City in accordance with the
                          Board of Police Commissioner’s Rules Governing Official Police
                          Garages and Section 3.3b of this Agreement.

           3.11    Vehicle Holds at Wo Charge to Police Department or Parly of interest

                   The Police Department may require the Contractor to hold a vehicle for 48
                   hours at no charge while it or its agent processes evidence from the
                   vehicle. Upon the termination of 48 hours for evidence processing, the
                   Contractor shall notify such party of interest that they have 24 hours to
                   claim the vehicle at no charge. The daiiy storage rate shall be applied at
                   the expiration of the 24-hour claiming period.




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     4.0     FACILITY REQUIREMENTS

            4.1     General Requirements

                    a. All storage facilities must comply with the zoning requirements set forth
                       in Section 12.17.6 of the Los Angeles Municipal Code, and all other
                       local, state and federal laws and regulations applicable to the proposed
                       use.

                    b. All storage facilities must have landscaping that conforms to general
                       aesthetic and environmental concerns.

                    c. Afi storage facilities must be inspected and approved by the Board or
                       its designee prior to use by the OPG.

                    d. All towed and impounded vehicles must be maintained within the
                       confines of the OPG storage facility and not upon the public streets,
                       sidewalks, or public property.

                    e. The OPG must maintain a primary place of business and storage
                       facilities, as specified in this Agreement, throughout the term of the
                       Agreement. The OPG must notify LAPD in writing at least ninety (90)
                       days prior to the anticipated expiration or termination of a lease, or
                       initiation of any eviction proceeding relating to the OPG’s primary place
                       of business or any of its storage facilities, or any other anticipated loss
                       of ownership, possession or control of such place of business or
                       storage facility. The notice must also include documentation
                       evidencing that the OPG will acquire a substitute site that complies
                       with this Agreement in order to continue performing under this
                       Agreement without interruption.

            4.2    Business Office and Primary Storage Facility

                   a. The OPG must maintain a primary place of business located within the
                      Service Area of assignment, except as provided for under Section
                      3.2(b) above. The primary place of business must include an
                      adequate business office and a Primary Storage Facility adjacent to
                      the business office.

                   b. The Primary Storage Facility must be enclosed and have a sufficient
                      number of spaces and be capable of accommodating the storage of
                      the following vehicles:

                       1) All vehicles appraised as having a value in excess of four thousand
                          dollars ($4,000), commonly referred to as “high-dollar value




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                           vehicles,” or such value as may otherwise be specified in California
                           Civil Code Section 3071.
                        2} All vehicles bearing modified equipment or cargo valued in excess
                           of one thousand dollars ($1,000),
                        3) Ail vehicles being held for criminalistic or evidentiary examinations
                           (hereinafter referred to as “Evidentiary Hold Vehicles”). .

                    c. A Primary Storage Facility must be paved, clean, and fenced for
                       maximum security, and must be lighted during hours of darkness to
                       afford distinct visibility to all portions of the facility.

                    d. The OPG must implement and maintain in proper working order
                       security measures at the Primary Storage Facility to prevent the loss or
                       theft of vehicle parts and accessories and personal property.

                    e, Unobstructed access must be provided to any stored vehicle. Vehicles
                       must be parked and separated so as to preclude the possibility of
                       damage.

                   f.   The location where a vehicle is stored within a Primary Storage Facility
                        must be accurately recorded on the OPG’s impound records for such
                        vehicle.

            4.3    Primary Storage Facility - investigative Hold Area end Evidentiary
                   Hold Vehicles

                   a. The Primary Storage Facility must have a segregated, designated and
                      enclosed area for the storage of vehicles held for criminalistics and/or
                      evidentiary examination (hereinafter referred to as “investigative Hold
                      Area”).

                   b. The Investigative Hold Area's storage capacity must be sufficient to
                      fulfil! the maximum expectations of the respective detective division(s)
                      being served within the Service Area of assignment. The Board or its
                      designee will determine the minimum storage capacity required.

                   c. The Investigative Hold Area must be isolated from other storage areas,
                      must be covered and must protect stored vehicles from the natural
                      elements (e.g., sun, rain, wind, etc.).

                   d. i he Investigative Hold Area must be enclosed, secured, locked, and
                      posted so as to prohibit entry by unauthorized persons.

                   e. The OPG must ensure that the only persons who enter the
                      Investigative Hold Area are authorized OPG employees or concerned
                      law enforcement personnel. The OPG must ensure that no one else



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                         enters the investigative Hold Area, unless they are accompanied by
                         the responsible investigator or their designee.

                    f.   The OPG must ensure that all authorized persons who enter the
                         Investigative Hold Area record the following information in a log
                         provided by the OPG:

                         D    Name;
                         2)   Serial Number;
                         3)   Rank;
                         4)   Deparfmeni/division of assignment;
                         5}   Date and time of entry;
                         6)   Date and time of exit;
                         7)   Reasons for entering the area;
                         8)   Identity of any vehicle that was the subject of the entry; and
                         9)   Description of any item that was removed from any vehicle by any
                              concerned law enforcement personnel that accessed the vehicle.

                   S- The OPG must maintain and secure the log and must make it available
                      for viewing by the Board or its designee, or by any concerned law
                      enforcement personnel upon request

                   h. OPG employees may not remove vehicle parts or accessories or
                      personal property from vehicles being held for criminalistic and/or
                      evidentiary purposes,

                         Vehicles stored in an Investigative Hold Area may not be removed
                         from the area until removal is authorized by the responsible
                         investigator or the LAPD Area Vehicle Coordinator.

                         Once an Investigative Hold has been released on a vehicle, the vehicle
                         must be immediately removed from the investigative Hold Area. The
                         date and time of removal from the Investigative Hold Area and the
                         identity of th© OPG employee removing the vehicle must be recorded
                         on OPG records for the vehicle involved.

                   k. All records relating to vehicles held for criminalistic and/or evidentiary
                      examination at any time are confidential and the OPG may not release
                      or disclose the contents of such records to anyone other than
                      concerned law enforcement personnel without written authorization
                      from the concerned investigator or unless release or disclosure is
                      otherwise required by law.




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            4.4     Secondary Storage Facilities

                    a. The OPG may also maintain one or more Secondary Storage
                       Facilities. A Secondary Storage Facility is a designated location to be
                       used by the OPG as a yard or lot for the temporary storage of certain
                       impounded vehicles as specified below.

                    b. All Secondary Storage Facilities must be located within five (5) miles of
                       the boundaries of the Service Area of assignment under this
                       Agreement, unless waived by the Board or its designee.

                    c. A Secondary Storage Facility may only be used to store vehicles with
                       an appraised value of four thousand dollars ($4,000) or less
                       (commonly referred to as “low-dollar value vehicles”), or such value as
                       may otherwise be specified in California Civil Code Section 3072.

                    d. A Secondary Storage Facility may be used for emergency temporary
                       storage of vehicles with an appraised value over four thousand dollars
                       ($4,000) only with the prior approval of the Board or its designee.
                       However, in such cases an attendant must be on duty twenty-four (24)
                       hours a day, seven (7) days a week, at the Secondary Storage Facility
                       to provide security for the vehicles.

                   e. A Secondary Storage Facility must have sufficient capacity to
                      accommodate the storage needs of the Service Area of assignment.
                      The City and the OPG will meet to determine the necessary capacity,
                      based on prior use of a Secondary Storage Facility and trends in levels
                      of service required for the Service Area of assignment.

                   f.   A Secondary Storage Facility must be clean and fenced for maximum
                        security and must be lighted during the hours of darkness to afford
                        illumination of all stored vehicles.

                        If the OPG uses a Secondary Storage Facility for emergency
                        temporary storage of high dollar value vehicles pursuant to Section 4.4
                        (d) above, any portion of the Secondary Storage Facility used to store
                        such high dollar value vehicles must be paved prior to storage of such
                        vehicles.

                   g- The OPG must implement and maintain in proper working order
                      security measures at ail Secondary Storage Facilities to prevent the
                      loss or theft of vehicle parts and accessories and personal property.

                   h. Unobstructed access must be provided to all stored vehicles. Vehicles
                      must be parked and separated so as to preclude the possibility of
                      damage.



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                          The location where a vehicle is stared within a Secondary Storage
                          Facility must be accurately recorded on the OPG’s impound records for
                          such vehicle.

                    j.   Return the stored vehicle to the Primary Storage Facility within twenty-
                         four (24) hours of the time tow and storage fees have been paid.

                    k. Return the stored vehicle to the Primary Storage Facility within twenty-
                       four (24) hours of receipt of a request to do so by concerned law
                       enforcement personnel.

            4.5     Satellite Secondary Storage Facilities
                    a. The OPG may also maintain one or more Satellite Secondary Storage
                       Facilities. A Satellite Secondary Storage Facility is a designated site
                       located beyond five (5) miles of the boundaries of the OPG’s Service
                       Area of assignment under this Agreement, to be used by the OPG as a
                       yard or lot for the temporary storage of certain impounded vehicles as
                       specified below.

                    b. Satellite Secondary Storage Facilities may only be used to store
                       vehicles with an appraised value of four thousand dollars ($4,000) or
                       less, '

                   c. Satellite Secondary Storage Facilities must be fenced for maximum
                      security and must have security measures in place to prevent the loss
                      or theft of vehicle parts and accessories and personal property.

                   d. If the OPG utilizes an approved Satellite Secondary Storage Facility,
                      the OPG must comply with the following:

                         1) Systematically segregate stored vehicles by the respective OPG
                            when a Satellite Secondary Storage Facility is shared by two or
                             more OPGs or other towing entities.
                         2) Distinctly sequester this OPG’s vehicles from other activities at the
                            facility when the facility conducts business other than storage of
                            OPG's vehicles, and ensure that access to the stored vehicles is
                            separate .from that of other business operation(s).
                         3) Provide unobstructed access to all stored vehicles. Park and
                            separate vehicles so as to preclude the possibility of damage.
                         4) Accurately record the location where a vehicle is stored within a
                            Satellite Secondary Storage Facility in the OPG’s impound records
                            for such vehicle.
                         5) Return the stored vehicle to the Primary Storage Facility within
                            twenty-four (24) hours of the time tow and' storage fees have been
                            paid.


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                        6) Return the stored vehicle to the Primary Storage Facility within
                           twenty-four (24) hours of receipt of a request to do so by concerned
                           law enforcement personnel,
                        7) Upon receipt of a law enforcement agency representative’s request
                           to inspect a vehicle at the Satellite Secondary Storage Facility, the
                           OPG must clearly distinguish that vehicle from other vehicles stored
                           at the location prior to the law enforcement employee's expected
                           time of arrival.

                    e, Upon written application by the OPG showing good cause, the Board
                       or its designee, at its sole discretion, may waive any of the
                       requirements of this Section 4,5,

            4.6     Statutory Hold Vehicles

                    a, A "Statutory Hold Vehicle" (hereinafter also referred to as “statutory
                       holds”) is a vehicle being held for any of the following;

                            Vehicle Code § 10751 - altered identification number
                            Vehicle Code § 14607.6 - subject to forfeiture regarding license
                            status of driver
                            Vehicle Code § 22651(1) - unpaid parking citations
                            Vehicle Code § 22651 (j) - no evidence of registration
                            Vehicle Code § 22651(0) - no current registration
                            Vehicle Code § 22651 (p) - unlicensed driver
                            Vehicle Code § 23109.2 - speed contest
                            Los Angeles Municipal Code §41.70 - prostitution
                            Los Angeles Municipal Code §41,70,1 - purchasing of controlled
                            substances
                       .#   Los Angeles Municipal Code §41.70.2 ~ speed contest
                            Los Angeles Municipal Code §41,70.3 - illegal dumping

                   b. Statutory holds need not be stored in the Investigative Hold Area, but
                      may be stored in the same manner as vehicles available for release,
                      unless there is an additional hold for criminalistics and/or evidentiary
                      examination.

                   c. OPG employees may remove unattached persona! property for
                      safekeeping when a vehicle is being held exclusively for a statutory
                      hold.

                   d, A statutory hold vehicle will not be available for release until authorized
                      by the concerned law enforcement personnel or the LAPD Area
                      Vehicle Coordinator.




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     1.0     STAFFING AND EQUIPMENT REQUIREMENTS

            5.1     Staffing Requirements

                    a. The OPG must ensure that a sufficient number of dispatchers and tow
                       unit operators are available twenty-four (24) hours a day, seven (7)
                       days a week to meet the needs of ai! City agencies that reiy upon the
                       OPG for tow service, within the Maximum Response Time specified in
                       this Agreement.

                    b. The OPG must ensure that a sufficient number of personnel are
                       available to meet the needs of all City agencies that rely upon the OPG
                       for tow services under this Agreement, and to release or dispose of
                       vehicles in a timely manner.

                    c. The OPG must ensure that all of its employees providing services
                       under this Agreement are properly trained, qualified and competent,
                       and possess the proper licenses and certification required for the
                       responsibilities they fulfill. The OPG must maintain records to
                       substantiate compliance with this provision, and must make such
                       records available to the Board or its designee upon request.

                   d    Dispatchers and other OPG employees providing service under this
                        Agreement must display their first names conspicuously on their
                        clothing.

                   e. Tow unit operators must wear a uniform approved by the Board or its
                      designee when acting within the scope of their OPG employment
                      under this Agreement. Tow unit operators must wear their name
                      insignia attached in a conspicuous place on their uniform.

                   f.   Tow unit operators must identify themselves upon request, to any
                        authorized City employee or police officer by providing their full, correct
                        name. Upon request by the general public, tow unit operators need
                        only identify themselves by providing their first name, employing OPG
                        name, and employee identification number (if available).

                   g. The OPG must conduct background investigations, to the extent
                      permitted by law, on each person employed or to be employed by the
                      OPG, and must provide to the City, Board or its designee, the results
                      of said background investigations. The OPG shall provide the results
                      of said background investigations for persons already employed, within
                      thirty (30) calendar days of the date of execution of this Agreement.
                      The OPG must provide the results of such background investigations
                      on future hires or rehires, prior to employing such person.




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                    h. The Board or its designee may conduct its own background
                       investigations, to the extent permitted by law, on all OPG employees
                       providing services under this Agreement,

                    i.   The OPG agrees to remove personnel from performing work under this
                         Agreement if requested to do so by the Board or its designee.

            5,2     Equipment Requirements

                    a. The OPG must ensure that a sufficient number of tow units are
                       available to meet the needs of all City agencies that rely upon the OPG
                       for tow service.

                    b. The OPG must maintain a sufficient number of tow units to meet the
                        needs of the Service Area of assignment, based on, but not limited to
                       the size of the Service Area, history of levels of service requested,
                       history of response times, and response delay complaints. If the Board
                       or its designee determines that the number of tow units maintained by
                       the OPG is inadequate to meet the documented needs of the Service
                       Area, the Board or its designee will meet with the OPG to determine
                       the necessary number of units and the OPG will maintain the specific
                       quantity of tow units determined at that time.

                   c. Each tow unit must be equipped with contemporary equipment to
                      minimize damage to the towed vehicle, and such other equipment as
                      may be required by the Board or its designee and the California
                      Vehicle. Code, including, but not limited to the equipment specified in
                      Section 27700 of the California Vehicle Code.

                   d. Each tow unit must be painted and marked as prescribed by the Board
                      or its designee and the California Vehicle Code, including but not
                      limited to Section 27907 of the California Vehicle Code.

                   e. The OPG must equip and maintain tow units and other equipment
                      covered under this Agreement in accordance with all applicable local,
                      state and federal laws and regulations, and consistent with industry
                      standards and practices. The OPG must maintain records to
                      substantiate compliance with this provision, and must make those
                      records available to the. Board or its designee upon request.

           5.3     Communications; and Computer Equipment

                   a.     The OPG’s primary facility must have two-way radio communications
                         equipment or other similar communications equipment capable of




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                        communicating with its tow unit operators, that is monitored twenty-four
                        (24) hours a day, seven (7) days.

                    b. The OPG dispatcher's office must be equipped with a telephone line
                       dedicated solely to receiving telephonic requests for towing and
                       storage services from authorized City employees,

                    c. Each tow unit must be equipped with two-way radio communications
                       equipment capable of communicating with the OPG dispatcher.

                    d. Tow units may be equipped to monitor “police calls” while acting within
                       the course and scope of their OPG responsibilities, provided that a
                       permit for such monitoring has been obtained from the Chief of Police
                       pursuant to Section 52.44 of the Los Angeles Municipal Code.

                   e. In the event that the City implements a process for OPG to access the
                      City’s Ticket information Management System (TIMS), the OPG will
                      provide and maintain a personal computer of sufficient capacity to
                      access TIMS to determine the scofflaw status of all vehicles prior by a
                      modem and dedicated telephone fine.

            5.4    Equipment at OPG’s Expense

                   The equipment specified in this Section 5.0 must be provided and
                   maintained by the OPG at the OPG's own expense.

     8.0    PROTECTION AND HANDLING OF VEHICLES, VEHICLE PARTS AND
            ACCESSORIES, AND UNATTACHED PERSONAL PROPERTY

            8.1    Impound Reports

                   a. The OPG tow unit operator must complete and sign the necessary
                      portions of the Impound Report (CHP Form 180) provided by the City
                      employee who impounded the vehicle. The original Impound Report
                      must be retained by the City impounding employee.

                   b. The OPG must record the vehicle release information in the
                      appropriate space provided in the OPG’s copy of the impound Report.

           8.2     Inventory at Location Vehicle Was Impounded

                   The OPG's tow unit operator must inventory every vehicle to be
                   impounded at the location where the vehicle was originally impounded and
                   must document such inventory on a form approved by the Board or its
                   designee,




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             8.3    Protection arsd Handling of Vehicles and Vehicle Parte and
                    Accessories

                    a. The OPG must protect each impounded vehicle and the vehicle’s parts
                       and attached accessories until such time as the vehicles have either
                       been released to a Properly Interested Person or have been disposed
                       of through legal process.

                    b. The OPG’s employees may not remove vehicle parts and attached
                       accessories from an Evidentiary Hold vehicle.

                    c. OPG employees may remove vehicle parts and attached accessories
                       for safekeeping from other non-evidentiary hold vehicles. The OPG
                       must implement procedures and controls to ensure that when an OPG
                       employee removes vehicle parts or attached accessories for
                       safekeeping, the following occur:

                         1) The OPG employees who removes vehicle parts or attached
                             accessories records a description of the removed vehicle parts or
                             attached accessories on the corresponding copy of the impound
                             Report and the OPG's Vehicle Inventory Form.
                        2) The OPG employees who removes vehicle parts or attached
                             accessories informs OPG office personnel responding to public
                             inquiries that vehicle parts or attached accessories have been
                             removed from the vehicle.
                        3} The OPG employees who removes vehicle parts or attached
                             accessories individually packages and identifies the vehicle parts or
                             attached accessories that were removed.
                        4) OPG employees properly store vehicle parts or attached
                             accessories so as to preclude loss, theft or damage.
                        5) OPG employees inform Properly Interested Persons that parts or
                             attached accessories have been removed and how they may obtain
                             possession of such property.
                        6) OPG replaces the vehicle parts and accessories that were removed
                            to restore the vehicle to its original state within twenty-four (24)
                            hours of the time tow and storage fees have been paid; and repairs
                            any damage caused by the original removal or replacement as
                            soon as possible after tow and storage fees have been paid,
                        7) If the repairs under this subsection will take ionger than twenty-four
                            (24) hours after payment of fees to complete, the OPG must
                            accommodate the Properly Interested Party(PIP) if a PIP requests
                            that the vehicle be released prior to completion of the repairs and
                            returned later to the OPG for completion of the repairs.

                   d.    The OPG is responsible for releasing Impounded vehicles that are
                        available for release.



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                    e. Criminalistic and evidentiary hold vehicles and statutory hold vehicles
                       will not be available for release until authorization has been given to
                       the OPG by the concerned investigator or the LAPD Area Vehicle
                       Coordinator and such authorizing person has provided their name and
                       serial number to the OPG. The OPG must note in its records the name
                       and serial number of the investigator or Area Vehicle Coordinator who
                       authorized release of each criminalistic, evidentiary or statutory hold
                       vehicle.

            '6.4    Protection and Handling of Unattached Personal Property

                   a. The OPG must safeguard all articles of unattached personal property
                      in impounded vehicles in accordance with applicable law.

                   b. The OPG must maintain a record of the identity of all persons who
                      have entered a stored vehicle for the purpose of accessing unattached
                      personal property. The record must also include the date of entry and
                      a description of any property removed.

                   c. OPG employees may remove unattached personal property for
                      safekeeping only from vehicles available for release and statutory hold
                      vehicles.

                   d. The OPG must implement procedures and controls to ensure that
                      when an OPG employee removes unattached personal property for
                      safekeeping, the following occur:

                       D    The OPG employee who removes unattached personal property
                             records a description of the removed property on the corresponding
                            copy of the Impound Report and the OPG’s Vehicle Inventory
                            Form.
                       2)   The OPG employee who removes unattached personal property
                            informs OPG office personnel responding to public inquiries that
                            personal property has been removed from the vehicle.
                       3)   The OPG employee who removes unattached personal property
                            individually packages and identifies each item of unattached
                            personal property that is removed from a vehicle.
                      4}    OPG employees store the unattached personal property in a secure
                            location so as to preclude loss, theft or damage.
                      5)    OPG employees inform Property Interested Persons that property
                            has been removed and how they may obtain possession of that
                            property.

                   e. The OPG must post and maintain in a conspicuous place, clearly
                      visible to the public, at its business office and its primary storage



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                        facility, a notice outlining the procedures for Property Interested
                        Persons and others who have ownership o? or the right to remove
                        unattached personal property from a vehicle, or to view and
                        photograph a vehicle stored in any of the OPG’s facilities. Said notice
                        outlining procedures for access must be approved by the Board or its
                        designee prior to being implemented or posted by the OPG, and must
                        include, but not be limited to the following information:

                       1) Assuming access is not otherwise prohibited or restricted, the OPG
                          must provide access to the vehicle and vehicle parts and
                          accessories for viewing and photographing, and to unattached
                          personal property for removal during the OPG’s norma! business
                          hours and within thirty (30) minutes of the request when the vehicle
                          is stored in the Primary Storage Facility or within two (2) hours if the
                          vehicle is stored in a Secondary Storage Facility, Access must be
                          provided within twenty-four (24) hours, excluding weekends and
                          holidays, of such a request when the vehicle is stored in a Satellite
                          Secondary Storage Facility,
                       2) Access to criminalistic or evidentiary hold vehicles will be provided
                          only if accompanied by the concerned investigator or their
                          designee.
                       3) The proof of authority to access the vehicle that is required and the
                          proof of identification that is required.

    7.0     LIENS

            7.1     Reasonable Grounds

                    a. The authorized City employee who is impounding the vehicle will be
                       responsible for establishing that “reasonable grounds” exists to
                       conduct the impound, and attaching of any lien wiil be determined by
                       applicable law.

                    b. If an authorized City employee directs a vehicle to be impounded and it
                       is later determined at a post storage impound hearing that no
                       reasonable grounds, or mitigating circumstances for the impound
                       existed, the City will pay one-half of the basic towing rate and one-half
                       of the daily storage rate. No other fees shall be imposed. This section
                       shall not apply to pre-planned special events or parades.

                   c, in the case of pre-planned special events or parades, where it is later
                      determined at a post storage impound hearing that no reasonable
                      grounds, or mitigating circumstances for the impound existed,
                      the City Agency causing the impound shall be responsible for the
                      towing and storage fees.




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             7,2     Liens

                    a. The OPG will be governed by the provisions of California Vehicle Code
                       Section 22851 etseq,, with regard to ail liens on stored vehicles.

                    b. At least seven (7) days prior to a “long-lien sale”, as described in
                       Vehicle Code Section 22851.4, the OPG must furnish a list of said lien
                       sale vehicles to LAPO’s Burglary-Auto Theft Division.

     3,0    ADDITIONAL POSTING REQUIREMENTS

            The OPG must comply with the following posting requirements, in addition to any
            other provisions in this Agreement requiring the OPG to post notices or other
            information at its primary place of business and its storage facilities.

            8,1     Business identification

                    The OPG must display at its business office and at its primary and
                    secondary storage facilities, the OPG's business name, address and
                    phone number, and the OPG’s business hours. The lettering must be a
                    minimum of two inches (2") in width and six inches (6") in height. The
                    display must be clearly visible and legible from the street at all times,
                    including during the hours of darkness.

            8.2     Fees and Rates

                    The OPG must post Board-approved fees and rates in a conspicuous
                    place, clearly visible to the public, in its business office and any other
                    place of business where customer’s financial transactions take place. The
                    letters on such sign must be a minimum of one inch (1”) high with one-
                    quarter inch (%”} stroke. The letters must be a contrasting color from the
                    background. Any change in fees and rates approved by the Board will
                    become effective as of the date specified by the Board or its designee,
                    and must be posted by the OPG on the effective date.

            8.3    Notice Regarding Vehicle Cod® Section 22850.3

                   The OPG must post the notice required by Section 22850.3 of the
                   California Vehicle Code, in a conspicuous place clearly visible to the
                   public at its business office and at ail of its storage facilities. The notice
                   must inform the public that a vehicle placed in storage pursuant to Vehicle
                   Code Section 22850 may be released only on proof of current DMV
                   registration or, at the discretion of the impounding agency, upon the
                   issuance of a notice to appear for the registration violation by the
                   impounding agency that caused the vehicle to be stored. The notice to




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                    appear must specify the name and telephone number of the City
                    impounding agency.

            BA      Impound Hearings

                    a. The OPG must post the Vehicle impound Hearing Rights Sign (LAPD
                       Form 16.27.3) in a conspicuous location, clearly visible to the public, at
                       its business office and its Primary Storage Facility.

                    b. The OPG must provide a Vehicle Impound Hearing Rights Notice
                       (LAPD Form 16.27.4) to be used to request an impound hearing, and
                       written directions indicating the location of the appropriate law
                       enforcement agency facility at which an impound hearing may be
                       requested, to any person who has had a vehicle impounded and who
                       wished to request an impound hearing.

    9.0     REPORTING REQUIREMENTS

            9.1    Weekly Reports

                   a. The OPG must provide a written report to its LAPD Area Vehicle
                      Coordinator and its Department of Transportation Vehicle Information
                      Processing Unit (hereinafter "DOT VIPU") on a weekly basis containing
                      the following Information for the immediately preceding week:

                       D All vehicles originally impounded by all City agencies (with the
                          corresponding agency identified as to each vehicle), that have
                          remained in storage beyond seven (7) calendar days.
                       2) Al! vehicles originally impounded with a criminalistic and/or
                          evidentiary hold that have remained in storage with a hold beyond
                          seven (7) calendar days.
                       3) All vehicles sold during the preceding week in accordance with
                          statutorily approved lien procedures.

                   b. The OPG must provide a written report to the Board’s Commission
                      Investigation Division on a weekly basis containing a list of all vehicles
                      for which vehicle identification or ownership is unknown, that have
                      been in storage more than seven (7) calendar days and a detective
                      has not responded to the OPG facility to identify the vehicle or there
                      has otherwise been no response by the concerned impounding City
                      agency.

           9.2     Monthly Reports

                   The OPG must submit a written OPG Monthly Report by the fifteenth (15th)
                   calendar day of each month to the Board or its designee. The OPG’s



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                    representative specified in Section 1.2 of this Agreement must sign the
                    OPG Monthly Report. The report must contain the following information
                    for the immediately preceding month:

                   1) The total number of vehicles impounded by City agencies under this
                      Agreement, with a breakdown of the number of vehicles impounded by
                      LAPD, LADOT and other City Agencies.
                   2) List of all employees that were employed by the OPG during the
                      previous month, along with each employee’s position and the license
                      or certificate numbers applicable to any employee by virtue of their
                      duties and responsibilities for the OPG.
                   3) Identification and an explanation of each tow requiring in excess of one
                      (1) hour, calculated from the time the tow unit actually proceeds to a
                      call for service until the time the tow unit arrives at the Primary Storage
                      Facility.
                   4) Al! instances involving the sale or disposal of a formerly stored vehicle
                      or vehicle part or accessory to an individual known to the OPG or the
                      OPG's employees as a City employee.

            6.3    Official Police Garage Association Vehicle Impound Information
                   Confer

                    If the Contractor is an active member of the Official Police Garage
                   Association of Los Angeles {OPGA), the Contractor will provide timely
                   information to the OPGA Vehicle Impound Information Center (VIIC)
                   database maintained by the OPGA. If the Contractor is not an active
                   member of the OPGA, the Contractor will, independently and at the
                   Contractor’s own expense, provide all of the same systems and services
                   the OPGA provides its active members and the public to locate vehicles
                   impounded by an OPG in the City of Los Angeles and determine the fees
                   or liens chargeable for towing and storage.

                   Notwithstanding the Standard Provisions for City Contracts (Rev. 3/09) the
                   OPGLA VIIC and the data contained therein is owned by the Official
                   Police Garage Association of Los Angeles.

           9.4     Document Centro!! System

                   If the Contractor is an active member of the OPGA, the Contractor will
                   participate in the Document Control System maintained by the OPGA. If
                   the Contractor is not an active member of the OPGA, the Contractor will,
                   independently and at the Contractor’s own expense, maintain a Document
                   Control system acceptable to the City and provide all of the same systems
                   and services the OPGA Document Control system provides the City and
                   the public.




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                    Notwithstanding the Standard Provisions for City Contracts (Rev. 3/09) the
                    OPGLA Document Control System and the data contained therein is
                    owned by the Official Police Garage Association of Los Angeles.

     10.0   FEES AND RATES

            10.1    General Requirements Regarding Fees and Rates

                    a. The fees and rates charged by the OPG for the removal and storage of
                       vehicles that the OPG has towed and stored as a result of this
                       Agreement may not exceed the fees and rates established by the
                       Board,

                    b. Except as provided by the Board, the OPG may not charge additional
                       fees for special equipment or service necessary to prepare vehicles for
                       removal.

                    c. The OPG may not charge for routine services required by the Vehicle
                       Code, such as providing flares, sand and cleanup at the scene of a
                       traffic accident.

                   d. The City will not provide any compensation to the OPG for towing or
                       storage services rendered under terms of this Agreement. The owner
                       of an impounded vehicle is responsible for such charges. Said
                       charges become a lien against the impounded vehicle, as provided by
                       law. Notwithstanding the foregoing, if the OPG is lawfully entitled to
                       collect any fee from the owner of an impounded vehicle and an
                       authorized City employee directs that the fee not be assessed against
                       the owner (such as when it is determined that reasonable grounds to
                       impound did not exist), the City will pay such fees to which the OPG
                       was legally entitled.

                   e. The parties acknowledge that the OPG’s business may include towing
                      and storage services provided at the request of other non-City
                      agencies or other private parties that are not provided under this
                      Agreement (hereinafter collectively referred to as “non-City tows”). If
                      the OPG provides services for non-City tows, the OPG may not charge
                      fees and rates for such non-City tows in excess of the rates and fees
                      approved by the Board for services rendered under this Agreement.
                      The OPG must file with the Board a schedule of fees and rates for
                      each service offered for non-City tows. The OPG may only charge the
                      fees and rates specified in such schedule for non-City tows. The OPG
                      must provide a copy of the applicable City or non-City tow and storage
                      rates to any member of the public or any concerned City agency
                      personnel upon request,




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                    f.   The OPG must prepare a bill itemizing all services rendered for each
                         impounded vehicle. The OPG must provide such itemized bill to the
                         Properly Interested Person requesting release of the vehicle, and to
                         any concerned City agency personnel upon request.

                    g. The OPG may not enter into an agreement with a City employee to
                       diminish or eliminate legally assessed vehicle removal or storage fees.

            10.2    Fees and Rates - Removal (Towing)

                   a. Removal (towing) fees must be based on an hourly rate for the time
                      actually consumed, The terms “removal" and “towing” fees are used
                      interchangeably in this Agreement and refer to the same fee. The time
                      for calculating the removal fees commences at the time a tow unit
                      actually proceeds to a call for service and terminates at the time the
                      tow unit arrives at the OPG’s Primary Storage Facility.

                   b. The removal fee for the first hour or fraction thereof will be at the rate
                      specified by the Board. The removal fee for each additional one-half
                      (34) hour or fraction thereof over the first hour will be one-half (A) of the
                      rate for the initial hour.

                   c. Vehicies may not be taken directly from the scene of the impound to
                      any Satellite Secondary Storage Facility without prior written approval
                      by the Board or its designee.

            10.3   Fees and Rates - Storage

                   a. The time for calculating the storage fees will commence at the time the
                      impounded vehicle arrives at the OPG’s storage facility. Storage fees
                      will be based on a daily rate, provided however, that if a request for
                      release of a vehicle is made within twenty-four (24) hours after the
                      vehicle is placed in storage, no charge exceeding that for one (1) day
                      of storage will be made.

                   b. If the request for release of a vehicle is made more than twenty-four
                      (24) hours after the vehicle is placed in storage, fees may be imposed
                      on a full calendar day basis for each day, or part thereof, the vehicle is
                      in storage. The daily rate extends from midnight to midnight.

           10.4    After-Hours Release Charges Prohibited

                   a. Charges for releasing vehicles “after-hours” fee are prohibited.

                   b. Notwithstanding the provisions of Section 3.3(c) of this Agreement, any
                      vehicle impounded from a public street in connection with a special



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                        event, as designated by tfie Board or its designee, must be available
                        for release for a minimum period of four (4) hours following the
                        conclusion of the special event, regardless of the OPG's normal hours
                        of business for release of vehicles. No after-hours release charges
                        may be assessed.

            10 J    Vehicle Release Fee

                    a. The OPG must collect and remit to the City the Vehicle Release Fee
                       as required by Section 80.77.1 of the Los Angeles Municipal Code,
                       and must comply with all the requirements of said Section 80.77.1.

                    b. Failure of the OPG to comply with all the requirements of Los Angeles
                       Municipal Code Section 80.77.1 shall constitute failure to comply with
                       the terms and conditions of this Agreement and may subject the OPG
                       to discipline, suspension or termination of this Agreement as provided
                       for in Section 13.0 of this Agreement.

            10.6   Parking Occupancy Tar.

                   a. The OPG must collect and remit to the City the Parking Occupancy
                      Tax as required by Section 21.15.4 of the Los Angeles Municipal
                      Code, and must comply with all the requirements relating to such
                      Parking Occupancy Tax pursuant to Los Angeles Municipal Code
                      Sections 21.15.1 through 21.15.14.

                   b. Failure of the OPG to comply with all the requirements of Los Angeles
                      Municipal Code Section 21.15.1 et seq., shall constitute failure to
                      comply with the terms and conditions of this Agreement and may
                      subject the OPG to discipline, suspension or termination of this
                      Agreement as provided for in Section 13.0 of this Agreement

            10.7   Lien Sale Vehicles

                   a. Vehicles impounded at the request of City agencies under this
                      Agreement valued over three hundred dollars ($300) that are
                      abandoned and/or unclaimed by their owners are exempt from the
                      City's Vehicle Release Fee in accordance with the provisions set forth
                      in Section 10.5 of this Agreement.

                   b. The balance of all outstanding fines for parking citations will be added
                      to the account of each lien sale vehicle, and must be remitted to the
                      City as a secondary lien holder from surplus lien sale monies in the
                      manner prescribed by State law.




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             10.8 Forfeited Vehicles

                    a. The OPG must remit to the City ail the moneys due the City from the
                       proceeds of the sale of vehicles forfeited as a nuisance pursuant to
                       local or State law.

                    b. Failure of the OPG to comply with all the requirements of local or State
                       law relating to sales of forfeited vehicles shall constitute failure to
                       comply with the terms and conditions of this Agreement and may
                       subject the OPG to discipline, suspension or termination of this
                       Agreement as provided for in Section 13.0 of this Agreement.

            10.8    Gross Receipts Fee

                    a. Pursuant to Section 80.77.4.D of the Los Angeles Municipal Code, the
                        OPG must pay to the City a fee equal to seven percent (7%) of the
                        gross revenue (hereinafter referred to as “Gross Receipts Fee”)
                        generated as a result of its activities as an official police garage,
                        including but not limited to revenues generated from towing, storage,
                       .sale of lien sale vehicles, and sale of forfeited vehicles, but does not
                        include revenues obtained through activities related to non-City tows,

                    b. Failure of the OPG to comply with the requirements of Los Angeies
                       Municipal Code Section 80.88.4.D shall constitute failure to comply
                       with the terms and conditions of this Agreement and may subject the
                       OPG to discipline, suspension or termination of this Agreement as
                       provided for in Section 13.0 of this Agreement.

    11.0    CHANGES IN OWNERSHIP AND CONFLICTS OF INTEREST

            11.1   Changes in Ownership

                   Any sale or transfer of a majority of either the ownership interest or stock,
                   except public share stock,- of the OPG, or any establishment of a trust, gift
                   or other similar legal device which transfers ownership or control of the
                   OPG shall be subject to the prior approval of the Los Angeles City
                   Council, which shall consider any recommendation of the Board. Failure
                   to comply with this Section 11.1 shall result in immediate termination of
                   this Agreement as provided for in Section 13.0 of this Agreement.

            11.2    Conflicts of Interest

                   The OPG, its owners, officers, or principals may not own or have a
                   controlling ownership interest in any automobile dismantling or wrecking
                   yard, automobile body shop or repair shop, used car business, or any
                   other automobile related business other than an automobile towing and



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                    related garage business. Failure to comply with this Section shall result in
                    immediate termination of this Agreement as provided for in Section 13.0 of
                    this Agreement

     12.0   AMENDMENTS AMD CHANGES TO THE AGREEMENT

            Any change in the terms of this Agreement, including changes in the services to
            be performed by the OPG and extension of the term, agreed to by the parties,
            must be incorporated into this Agreement by a written amendment, properly
            executed and signed by the persons authorized to bind the parties thereto,

     13.0   DISCIPLINE, SUSPENSION AND TERMINATION

            13.1    Discipline and Suspension

                   The OPG may be disciplined or suspended from providing services under
                   this Agreement for a specified period of time if the Board or its designee
                   determines that the OPG has operated in violation of the law or any rule or
                   regulation of the Board relating to official police garages or has otherwise
                   failed to perform satisfactorily under this Agreement, after written notice
                   and hearing by the Board or its designee.

            13.2   Termination

                   a. If the OPG is unwilling to provide official police garage services, the
                      OPG may terminate this agreement in such an event, the OPG must
                      notify the Board or its designee in writing of its intention to terminate
                      this Agreement. As soon as practical after receiving the OPG's notice
                      of intent to terminate, the City will comply with Los Angeles Municipal
                      Code Section 80.77.4, as it then reads, to provide official police garage
                      for the affected service area. The OPG must continue to provide
                      services within the Service Area until such time as a contract is
                      executed with the successor contractor for the Service Area or an
                      additional 180-day period, whichever is less. The City will notify the
                      OPG at least 30 calendar days in advance of the anticipated date of
                      execution of the new contract with the successor contractor.

                   b. The Board or its designee may terminate this Agreement at any time
                      for cause after written notice and hearing by the Board or its designee.
                      The Board or its designee will provide the OPG with thirty (30) days
                      written notice of the termination. Such notice will specify the effective
                      date of the termination, in the event of such termination for cause, the
                      City may avail itself of ail rights and remedies at iaw or equity.




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     14.0    STANDARD PROVISIONS FOR CITY CONTRACTS

             14.1   Standard Provisions for City Contracts

                    The OPG will comply with the Standard Provisions for City Contracts
                    (Rev. 3/09), attached hereto as Attachment 8 and incorporated herein by
                    this reference.

            14,2    insurance

                    The OPG must at all times during the term of this agreement maintain the
                    types and amounts of insurance specified in Attachment B - Standard
                    Provisions for City Contracts. Said insurance must protect the OPG and
                    the City against any and all damages resulting from the OPG’s activities
                    as an OPG.

            14,3    Retention of Records, Audits and inspections

                    a. The OPG must retain all records generated or kept by the OPG in
                       performance of this Agreement in an accessible iocation and for the
                       period prescribed by law for that particular record. If a period of
                       retention for a particular record is not otherwise prescribed by law, the
                       OPG must retain the record pursuant to Section PSC-22 of the
                       Standard Provisions for City Contracts (Attachment B).

                    b. All relevant OPG records, equipment and storage facilities are subject
                       to periodic inspection by the Board or its designee, or other concerned
                       City personnel, to determine if the OPG is in compliance with
                       applicable laws, rules and regulations and with the requirements of this
                       Agreement, without notice, twenty-four (24) hours a day, except as
                       otherwise specified below in Subsection (c).

                    c. The OPG must make available for examination or audit by any
                       representative of the City or the Board, all data and records, including
                       computer data files, related to the towing or storage services provided
                       under this Agreement (collectively referred to the “Essential Records”).
                       Essential Records must be made available without notice, twenty-four
                       (24) hours a day, and as often as the City may deem necessary.

                       The OPG must make available for examination or audit by any
                       representative of the City or Board, all other records of the OPG
                       relating to all matters covered by this Agreement, including, but not
                       limited to receipts, personnel files, and payroll and accounting data
                       (collectively referred to as “Supplemental Records”). Supplemental
                       Records must be made available as soon as possible during normal
                       business hours upon request made to the OPG’s management staff.



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                        The records specified herein must be made available at the OPG's
                        primary place of business within the Service Area of assignment
                        Nothing herein shall limit access to records by law enforcement
                        personnel as provided for in Section 3.3(d) of this Agreement.

                    d. The OPG and its employees, must not interfere with, prevent, or refuse
                       to permit concerned law enforcement personnel or representatives of
                       the Board or the City to make an examination or inspection of any
                       premises maintained by the OPG in the course of its business, for the
                       purpose of determining whether the OPG is complying with ail
                       applicable laws, rules and regulations and with the requirements of this
                       Agreement.

                    e. No person shall interfere with, prevent, or refuse to permit concerned
                       law enforcement personnel or representatives of the Board or City to
                       make an examination, inspection or copy of any record kepi by the
                       OPG. The OPG must permit said law enforcement personnel or
                       representatives of the Board or City to make copies of business
                       records at the OPG’s place of business, or to remove business records
                       for the purpose of reproduction.

            14.4   Wo Third Party Beneficiaries

                   This Agreement does not create or confer any third-party rights, and as
                   such, there are no third party beneficiaries under this Agreement.

    1S.0    COMPLETE AGREEMENT

           This Agreement contains the full and complete Agreement between the two
           parties. No verbal agreement or conversation with any officer or employee of
           either party will affect or modify any of the terms and conditions of this
           Agreement.

           ORDER OF PRECEDENCE

           In the event of an inconsistency between any of the provisions of this First
           Amendment and Restatement to Contract No. C-129766, or all prior or current
           attachments, the inconsistency shall be resolved by giving previous attachments
           and/or amendments precedence in the following order:

           1)   First Amended and Restated Contract No. C-129766
           2)   First Amendment to Contract No. C-129766
           2)   LAPD Contract No. C-129766, and
           3)   Standard Provisions for City Contracts (Rev. 03/09)




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     Other than the Contractor’s corporate name referenced in the Original Agreement set
     forth above, ail other terms and conditions of the Original Agreement shall remain
     unchanged and in full force effect.

    This First Amended and Restated Contract may be executed in one or more
    counterparts, and by the parties in separate counterparts, each of which when executed
    shall be deemed to be an original, but all of which taken together shall constitute one
    and the same agreement. The parties further agree that that facsimile signatures or
    signatures scanned into .pdf (or signatures in another electronic format designated by
    the City) and sent by e-mail shall be deemed original signatures.

                                            [Signature page follows]




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       JN WITNESS THEREOF, the parties hereto have caused this agreement to be executed
       by tfiair respective duly authorized representatives.


       CITY OF LOS ANGELES                                 JON’S TOWING MC.
                                                                 -'■s -*■'/
                t        //51                               •KZl                                     -■-'i   .
       By.,                                                By1
              Eileen Decker                                     rbvifs Qabolldfan
              President                                         Owner
              Board of Police Commissioners
                    06/25/21
      Date:                                               Date: _ .is&J.


      APPROVED AS TO FORM:
      MICHAEL N. FEUER, City Attorney


      By: ,                                        -A
     •f|/ SAMUELtPETTY
            Deputy City Attorney ,

      Date;


     ATTEST:

     HOLLY L. WOLCOTT, CITY .CLERK

     *, CO- rA                     1'
             Deputy City Clerk

     Date.      C - ,psr- a |


     City Business Tax Registration Certificate No:                   e-as
                                                                      *■


     IRS Federal Tax iD No:

     City Agreement No:                   C-12Q766




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               STANDARD PROVISIONS FOR CITY CONTRACTS


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                STANDARD PROVISIONS FOR CITY CONTRACTS


   PSC-1.     CONSTRUCTION OF PROVISIONS AND TITLES HEREIN

   All titles, subtitles, or headings in this Contract have been inserted for convenience, and
   shall not be deemed to affect the meaning or construction of any of the terms or
   provisions hereof. The language of this Contract shall be construed according to its fair
   meaning and not strictly for or against the CITY or CONTRACTOR. The word
   "CONTRACTOR" herein in this Contract includes the party or parties identified in the
   Contract.      The singular shall include the plural; if there is more than one
   CONTRACTOR herein, unless expressly stated otherwise, their obligations and
   liabilities hereunder shall be joint and several. Use of the feminine, masculine, or neuter
   genders shall be deemed to include the genders not used.

   PSC-2.     NUMBER OF ORIGINALS

   The number of original texts of this Contract shall be equal to the number of the parties
   hereto, one text being retained by each party. At the CITY’S option, one or more
   additional original texts of this Contract may also be retained by the City.

   PSC-3.     APPLICABLE LAW, INTERPRETATION AND ENFORCEMENT

   Each party's performance hereunder shall comply with all applicable laws of the United
   States of America, the State of California, and the CITY, including but not limited to,
   laws regarding health and safety, labor and employment, wage and hours and licensing
   laws which affect employees. This Contract shall be enforced and interpreted under the
   laws of the State of California without regard to conflict of law principles.
   CONTRACTOR shall comply with new, amended, or revised laws, regulations, and/or
   procedures that apply to the performance of this Contract.

   In any action arising out of this Contract, CONTRACTOR consents to personal
  jurisdiction, and agrees to bring all such actions, exclusively in state or federal courts
  located in Los Angeles County, California.

   If any part, term or provision of this Contract is held void, illegal, unenforceable, or in
   conflict with any law of a federal, state or local government having jurisdiction over this
   Contract, the validity of the remaining parts, terms or provisions of the Contract shall not
   be affected thereby.




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   PSC-4.        TIME OF EFFECTIVENESS

   Unless otherwise provided, this Contract shall take effect when all of the following
   events have occurred:

            A.    This Contract has been signed on behalf of CONTRACTOR by the person
                  or persons authorized to bind CONTRACTOR hereto;

            B.    This Contract has been approved by the City Council or by the board,
                  officer or employee authorized to give such approval;

            C.    The Office of the City Attorney has indicated in writing its approval of this
                  Contract as to form; and

            D.    This Contract has been signed on behalf of the CITY by the person
                  designated by the City Council, or by the board, officer or employee
                  authorized to enter into this Contract.

   PSC-5.        INTEGRATED CONTRACT

   This Contract sets forth all of the rights and duties of the parties with respect to the
   subject matter hereof, and replaces any and all previous Contracts or understandings,
   whether written or oral, relating thereto. This Contract may be amended only as
   provided for in paragraph PSC-6 hereof.

   PSC-6.        AMENDMENT

   All amendments to this Contract shall be in writing and signed and approved pursuant to
   the provisions of PSC-4.

   PSC-7.        EXCUSABLE DELAYS

  In the event that performance on the part of any party hereto is delayed or suspended
  as a result of circumstances beyond the reasonable control and without the fault and
  negligence of said party, none of the parties shall incur any liability to the other parties
  as a result of such delay or suspension. Circumstances deemed to be beyond the
  control of the parties hereunder include, but are not limited to, acts of God or of the
  public enemy; insurrection; acts of the Federal Government or any unit of State or Local
  Government in either sovereign or contractual capacity; fires; floods; earthquakes;
  epidemics; quarantine restrictions; strikes; freight embargoes or delays in
  transportation, to the extent that they are not caused by the party's willful or negligent
  acts or omissions, and to the extent that they are beyond the party's reasonable control.

   PSC-8.        BREACH

  Except for excusable delays as described in PSC-7, if any party fails to perform, in
  whole or in part, any promise, covenant, or agreement set forth herein, or should any
  representation made by it be untrue, any aggrieved party may avail itself of all rights


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   and remedies, at law or equity, in the courts of law. Said rights and remedies are
   cumulative of those provided for herein except that in no event shall any party recover
   more than once, suffer a penalty or forfeiture, or be unjustly compensated.

   PSC-9.      WAIVER

   A waiver    of a default of any part, term or provision of this Contract shall not be
   construed    as a waiver of any succeeding default or as a waiver of the part, term or
   provision   itself. A party’s performance after the other party’s default shall not be
   construed   as a waiver of that default.

   PSC-10.     TERMINATION

         A.      TERMINATION FOR CONVENIENCE

         The CITY may terminate this Contract for the CITY’S convenience at any time by
         giving CONTRACTOR thirty days written notice thereof. Upon receipt of said
         notice, CONTRACTOR shall immediately take action not to incur any additional
         obligations, cost or expenses, except as may be reasonably necessary to
         terminate its activities. The CITY shall pay CONTRACTOR its reasonable and
         allowable costs through the effective date of termination and those reasonable
         and necessary costs incurred by CONTRACTOR to affect such termination.
         Thereafter, CONTRACTOR shall have no further claims against the CITY under
         this Contract. All finished and unfinished documents and materials procured for
         or produced under this Contract, including all intellectual property rights thereto,
         shall become CITY property upon the date of such termination. CONTRACTOR
         agrees to execute any documents necessary for the CITY to perfect,
         memorialize, or record the CITY’S ownership of rights provided herein.

         B.      TERMINATION FOR BREACH OF CONTRACT

                 1.     Except    for   excusable   delays    as   provided    in   PSC-7,    if
                        CONTRACTOR fails to perform any of the provisions of this
                        Contract or so fails to make progress as to endanger timely
                        performance of this Contract, the CITY may give CONTRACTOR
                        written notice of such default. If CONTRACTOR does not cure
                        such default or provide a plan to cure such default which is
                        acceptable to the CITY within the time permitted by the CITY, then
                        the CITY may terminate this Contract due to CONTRACTOR’S
                        breach of this Contract.

                 2.     If a federal or state proceeding for relief of debtors is undertaken by
                        or against CONTRACTOR, or if CONTRACTOR makes an
                        assignment for the benefit of creditors, then the CITY may
                        immediately terminate this Contract.

                 3.     If CONTRACTOR engages in any dishonest conduct related to the
                        performance or administration of this Contract or violates the

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                       CITY’S lobbying policies, then the CITY may immediately terminate
                       this Contract.

                4.     In the event the CITY terminates this Contract as provided in this
                       section, the CITY may procure, upon such terms and in such
                       manner as the CITY may deem appropriate, services similar in
                       scope and level of effort to those so terminated, and
                       CONTRACTOR shall be liable to the CITY for all of its costs and
                       damages, including, but not limited, any excess costs for such
                       services.

                5.     All finished or unfinished documents and materials produced or
                       procured under this Contract, including all intellectual property
                       rights thereto, shall become CITY property upon date of such
                       termination. CONTRACTOR agrees to execute any documents
                       necessary for the CITY to perfect, memorialize, or record the
                       CITY’S ownership of rights provided herein.

                6.    If, after notice of termination of this Contract under the provisions of
                      this section, it is determined for any reason that CONTRACTOR
                      was not in default under the provisions of this section, or that the
                      default was excusable under the terms of this Contract, the rights
                      and obligations of the parties shall be the same as if the notice of
                      termination had been issued pursuant to PSC-10(A) Termination for
                      Convenience.

                7.    The rights and remedies of the CITY provided in this section shall
                      not be exclusive and are in addition to any other rights and
                      remedies provided by law or under this Contract.

   PSC-11.   INDEPENDENT CONTRACTOR

  CONTRACTOR is acting hereunder as an independent contractor and not as an agent
  or employee of the CITY. CONTRACTOR shall not represent or otherwise hold out
  itself or any of its directors, officers, partners, employees, or agents to be an agent or
  employee of the CITY.

   PSC-12.   CONTRACTOR’S PERSONNEL

  Unless otherwise provided or approved by the CITY, CONTRACTOR shall use its own
  employees to perform the services described in this Contract. The CITY shall have the
  right to review and approve any personnel who are assigned to work under this
  Contract. CONTRACTOR agrees to remove personnel from performing work under this
  Contract if requested to do so by the CITY.

  CONTRACTOR shall not use subcontractors to assist in performance of this Contract
  without the prior written approval of the CITY. If the CITY permits the use of
  subcontractors, CONTRACTOR shall remain responsible for performing all aspects of

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   this Contract. The CITY has the right to approve CONTRACTOR’S subcontractors, and
   the CITY reserves the right to request replacement of subcontractors. The CITY does
   not have any obligation to pay CONTRACTOR’S subcontractors, and nothing herein
   creates any privity between the CITY and the subcontractors.

   PSC-13.     PROHIBITION AGAINST ASSIGNMENT OR DELEGATION

   CONTRACTOR may not, unless it has first obtained the written permission of the CITY:

         A.      Assign or otherwise alienate any of its rights under this Contract, including
                 the right to payment; or

          B.     Delegate, subcontract, or otherwise transfer any of its duties under this
                 Contract.

   PSC-14.     PERMITS

   CONTRACTOR and            its directors, officers, partners, agents, employees, and
   subcontractors, to the extent allowed hereunder, shall obtain and maintain all licenses,
   permits, certifications and other documents necessary for CONTRACTOR'S
   performance hereunder and shall pay any fees required therefor. CONTRACTOR
   certifies to immediately notify the CITY of any suspension, termination, lapses, non­
   renewals, or restrictions of licenses, permits, certificates, or other documents.

   PSC-15.     CLAIMS FOR LABOR AND MATERIALS

   CONTRACTOR shall promptly pay when due all amounts payable for labor and
  materials furnished in the performance of this Contract so as to prevent any lien or other
  claim under any provision of law from arising against any CITY property (including
  reports, documents, and other tangible or intangible matter produced by
  CONTRACTOR hereunder), against CONTRACTOR'S rights to payments hereunder,
  or against the CITY, and shall pay all amounts due under the Unemployment Insurance
  Act with respect to such labor.

   PSC-16.     CURRENT LOS ANGELES CITY BUSINESS TAX REGISTRATION
               CERTIFICATE REQUIRED

  If applicable, CONTRACTOR represents that it has obtained and presently holds the
  Business Tax Registration Certificate(s) required by the CITY'S Business Tax
  Ordinance, Section 21.00 et seq. of the Los Angeles Municipal Code. For the term
  covered by this Contract, CONTRACTOR shall maintain, or obtain as necessary, all
  such Certificates required of it under the Business Tax Ordinance, and shall not allow
  any such Certificate to be revoked or suspended.

   PSC-17.     RETENTION OF RECORDS. AUDIT AND REPORTS

  CONTRACTOR shall maintain all records, including records of financial transactions,
  pertaining to the performance of this Contract, in their original form, in accordance with

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    requirements prescribed by the CITY. These records shall be retained for a period of
   no less than three years following final payment made by the CITY hereunder or the
   expiration date of this Contract, whichever occurs last. Said records shall be subject to
   examination and audit by authorized CITY personnel or by the CITY’S representative at
   any time during the term of this Contract or within the three years following final
   payment made by the CITY hereunder or the expiration date of this Contract, whichever
   occurs last. CONTRACTOR shall provide any reports requested by the CITY regarding
   performance of this Contract. Any subcontract entered into by CONTRACTOR, to the
   extent allowed hereunder, shall include a like provision for work to be performed under
   this Contract.

   PSC-18.    FALSE CLAIMS ACT

   CONTRACTOR acknowledges that it is aware of liabilities resulting from submitting a
   false claim for payment by the CITY under the False Claims Act (Cal. Gov. Code §§
   12650 et seq.), including treble damages, costs of legal actions to recover payments,
   and civil penalties of up to $10,000 per false claim.

   PSC-19.    BONDS

   All bonds which may be required hereunder shall conform to CITY requirements
   established by Charter, ordinance or policy, and shall be filed with the Office of the City
   Administrative Officer, Risk Management for its review and acceptance in accordance
   with Sections 11.47 through 11.56 of the Los Angeles Administrative Code.

   PSC-20.    INDEMNIFICATION

  Except for the active negligence or willful misconduct of the CITY, or any of its Boards,
  Officers, Agents, Employees, Assigns and Successors in Interest, CONTRACTOR
  undertakes and agrees to defend, indemnify and hold harmless the CITY and any of its
  Boards, Officers, Agents, Employees, Assigns, and Successors in Interest from and
  against all suits and causes of action, claims, losses, demands and expenses,
  including, but not limited to, attorney's fees (both in house and outside counsel) and
  cost of litigation (including all actual litigation costs incurred by the CITY, including but
  not limited to, costs of experts and consultants), damages or liability of any nature
  whatsoever, for death or injury to any person, including CONTRACTOR'S employees
  and agents, or damage or destruction of any property of either party hereto or of third
  parties, arising in any manner by reason of the negligent acts, errors, omissions or
  willful misconduct incident to the performance of this Contract by CONTRACTOR or its
  subcontractors of any tier. Rights and remedies available to the CITY under this
  provision are cumulative of those provided for elsewhere in this Contract and those
  allowed under the laws of the United States, the State of California, and the CITY. The
  provisions of PSC-20 shall survive expiration or termination of this Contract.

  PSC-21.     INTELLECTUAL PROPERTY INDEMNIFICATION

  CONTRACTOR, at its own expense, undertakes and agrees to defend, indemnify, and
  hold harmless the CITY, and any of its Boards, Officers, Agents, Employees, Assigns,

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   and Successors in Interest from and against all suits and causes of action, claims,
    losses, demands and expenses, including, but not limited to, attorney's fees (both in
   house and outside counsel) and cost of litigation (including all actual litigation costs
   incurred by the CITY, including but not limited to, costs of experts and consultants),
   damages or liability of any nature whatsoever arising out of the infringement, actual or
   alleged, direct or contributory, of any intellectual property rights, including, without
   limitation, patent, copyright, trademark, trade secret, right of publicity and proprietary
   information right (1) on or in any design, medium, matter, article, process, method,
   application, equipment, device, instrumentation, software, hardware, or firmware used
   by CONTRACTOR, or its subcontractors of any tier, in performing the work under this
   Contract; or (2) as a result of the CITY’S actual or intended use of any Work Product
   furnished by CONTRACTOR, or its subcontractors of any tier, under the Agreement.
   Rights and remedies available to the CITY under this provision are cumulative of those
   provided for elsewhere in this Contract and those allowed under the laws of the United
   States, the State of California, and the CITY. The provisions of PSC-21 shall survive
   expiration or termination of this Contract.

   PSC-22.    INTELLECTUAL PROPERTY WARRANTY

   CONTRACTOR represents and warrants that its performance of all obligations under
   this Contract does not infringe in any way, directly or contributorily, upon any third
   party’s intellectual property rights, including, without limitation, patents, copyrights,
   trademarks, trade secrets, rights of publicity and proprietary information.

   PSC-23.    OWNERSHIP AND LICENSE

  Unless otherwise provided for herein, all Work Products originated and prepared by
  CONTRACTOR or its subcontractors of any tier under this Contract shall be and remain
  the exclusive property of the CITY for its use in any manner it deems appropriate. Work
  Products are all works, tangible or not, created under this Contract including, without
  limitation, documents, material, data, reports, manuals, specifications, artwork,
  drawings, sketches, computer programs and databases, schematics, photographs,
  video and audiovisual recordings, sound recordings, marks, logos, graphic designs,
  notes, websites, domain names, inventions, processes, formulas matters and
  combinations thereof, and all forms of intellectual property. CONTRACTOR hereby
  assigns, and agrees to assign, all goodwill, copyright, trademark, patent, trade secret
  and all other intellectual property rights worldwide in any Work Products originated and
  prepared by CONTRACTOR under this Contract. CONTRACTOR further agrees to
  execute any documents necessary for the CITY to perfect, memorialize, or record the
  CITY’S ownership of rights provided herein.

  For all Work Products delivered to the CITY that are not originated or prepared by
  CONTRACTOR or its subcontractors of any tier under this Contract, CONTRACTOR
  hereby grants a non-exclusive perpetual license to use such Work Products for any
  CITY purposes.




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   CONTRACTOR shall not provide or disclose any Work Product to any third party
   without prior written consent of the CITY.

   Any subcontract entered into by CONTRACTOR relating to this Contract, to the extent
   allowed hereunder, shall include a like provision for work to be performed under this
   Contract to contractually bind or otherwise oblige its subcontractors performing work
   under this Contract such that the CITY’S ownership and license rights of all Work
   Products are preserved and protected as intended herein. Failure of CONTRACTOR to
   comply with this requirement or to obtain the compliance of its subcontractors with such
   obligations shall subject CONTRACTOR to the imposition of any and all sanctions
   allowed by law, including but not limited to termination of CONTRACTOR’S contract
   with the CITY.

   PSC-24.    INSURANCE

   During the term of this Contract and without limiting CONTRACTOR'S indemnification
   of the CITY, CONTRACTOR shall provide and maintain at its own expense a program
   of insurance having the coverages and limits customarily carried and actually arranged
   by CONTRACTOR, but not less than the amounts and types listed on the Required
   Insurance and Minimum Limits sheet (Form General 146 in Exhibit 1 hereto), covering
   its operations hereunder.      Such insurance shall conform to CITY requirements
   established by Charter, ordinance or policy, shall comply with the Insurance Contractual
   Requirements (Form General 133 in Exhibit 1 hereto) and shall otherwise be in a form
   acceptable to the Office of the City Administrative Officer, Risk Management.
   CONTRACTOR shall comply with all Insurance Contractual Requirements shown on
   Exhibit 1 hereto. Exhibit 1 is hereby incorporated by reference and made a part of this
   Contract.

   PSC-25.   DISCOUNT TERMS

   CONTRACTOR agrees to offer the CITY any discount terms that are offered to its best
   customers for the goods and services to be provided hereunder and apply such
   discount to payments made under this Contract which meet the discount terms.

   PSC-26.   WARRANTY AND RESPONSIBILITY OF CONTRACTOR

   CONTRACTOR warrants that the work performed hereunder shall be completed in a
   manner consistent with professional standards practiced among those firms within
   CONTRACTOR’S profession, doing the same or similar work under the same or similar
   circumstances.

   PSC-27.   NON-DISCRIMINATION

  Unless otherwise exempt, this Contract is subject to the non-discrimination provisions in
  Sections 10.8 through 10.8.2 of the Los Angeles Administrative Code, as amended from
  time to time. The CONTRACTOR shall comply with the applicable non-discrimination
  and affirmative action provisions of the laws of the United States of America, the State
  of California, and the CITY. In performing this Contract, CONTRACTOR shall not

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   discriminate in its employment practices against any employee or applicant for
   employment because of such person's race, religion, national origin, ancestry, sex,
   sexual orientation, age, disability, domestic partner status, marital status or medical
   condition. Any subcontract entered into by CONTRACTOR, to the extent allowed
   hereunder, shall include a like provision for work to be performed under this Contract.

   Failure of CONTRACTOR to comply with this requirement or to obtain the compliance
   of its subcontractors with such obligations shall subject CONTRACTOR to the
   imposition of any and all sanctions allowed by law, including but not limited to
   termination of CONTRACTOR’S contract with the CITY.

   PSC-28.    EQUAL EMPLOYMENT PRACTICES

   Unless otherwise exempt, this Contract is subject to the equal employment practices
   provisions in Section 10.8.3 of the Los Angeles Administrative Code, as amended from
   time to time.

         A.     During the performance of this Contract, CONTRACTOR agrees and
                represents that it will provide equal employment practices and
                CONTRACTOR and each subcontractor hereunder will ensure that in his
                or her employment practices persons are employed and employees are
                treated equally and without regard to or because of race, religion,
                ancestry, national origin, sex, sexual orientation, age, disability, marital
                status or medical condition.

                1.     This provision applies to work or service performed or materials
                       manufactured or assembled in the United States.

                2.    Nothing in this section shall require or prohibit the establishment of
                      new classifications of employees in any given craft, work or service
                      category.

                3.    CONTRACTOR agrees to post a copy of Paragraph A hereof in
                      conspicuous places at its place of business available to employees
                      and applicants for employment.

         B.    CONTRACTOR will, in all solicitations or advertisements for employees
               placed by or on behalf of CONTRACTOR, state that all qualified
               applicants will receive consideration for employment without regard to
               their race, religion, ancestry, national origin, sex, sexual orientation, age,
               disability, marital status or medical condition.

         C.    As part of the CITY’S supplier registration process, and/or at the request
               of the awarding authority, or the Board of Public Works, Office of Contract
               Compliance, CONTRACTOR shall certify in the specified format that he or
               she has not discriminated in the performance of CITY contracts against
               any employee or applicant for employment on the basis or because of


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               race, religion, national origin, ancestry, sex, sexual orientation, age,
               disability, marital status or medical condition.

          D.   CONTRACTOR shall permit access to and may be required to provide
               certified copies of all of his or her records pertaining to employment and to
               employment practices by the awarding authority or the Office of Contract
               Compliance for the purpose of investigation to ascertain compliance with
               the Equal Employment Practices provisions of CITY contracts. On their or
               either of their request CONTRACTOR shall provide evidence that he or
               she has or will comply therewith.

         E.    The failure of any CONTRACTOR to comply with the Equal Employment
               Practices provisions of this Contract may be deemed to be a material
               breach of CITY contracts. Such failure shall only be established upon a
               finding to that effect by the awarding authority, on the basis of its own
               investigation or that of the Board of Public Works, Office of Contract
               Compliance. No such finding shall be made or penalties assessed except
               upon a full and fair hearing after notice and an opportunity to be heard has
               been given to CONTRACTOR.

         F.    Upon a finding duly made that CONTRACTOR has failed to comply with
               the Equal Employment Practices provisions of a CITY contract, the
               contract may be forthwith canceled, terminated or suspended, in whole or
               in part, by the awarding authority, and all monies due or to become due
               hereunder may be forwarded to and retained by the CITY. In addition
               thereto, such failure to comply may be the basis for a determination by the
               awarding authority or the Board of Public Works that the CONTRACTOR
               is an irresponsible bidder or proposer pursuant to the provisions of Section
               371 of the Charter of the City of Los Angeles. In the event of such a
               determination, CONTRACTOR shall be disqualified from being awarded a
               contract with the CITY for a period of two years, or until CONTRACTOR
               shall establish and carry out a program in conformance with the provisions
               hereof.

        G.     Notwithstanding any other provision of this Contract, the CITY shall have
               any and all other remedies at law or in equity for any breach hereof.

        H.     Intentionally blank.

         I.    Nothing contained in this Contract shall be construed in any manner so as
               to require or permit any act which is prohibited by law.

        J.     At the time a supplier registers to do business with the CITY, or when an
               individual bid or proposal is submitted, CONTRACTOR shall agree to
               adhere to the Equal Employment Practices specified herein during the
               performance or conduct of CITY Contracts.



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          K.     Equal Employment Practices shall, without limitation as to the subject or
                 nature of employment activity, be concerned with such employment
                 practices as:

                 1    .   Hiring practices;

                 2    .   Apprenticeships where such approved programs are functioning
                          and other on-the-job training for non-apprenticeable occupations;

                 3.       Training and promotional opportunities; and

                4.        Reasonable accommodations for persons with disabilities.

         L.     Any subcontract entered into       CONTRACTOR, to the extent allowed
                hereunder, shall include a like provision for work to be performed under
                this Contract. Failure of CONTRACTOR to comply with this requirement
                or to obtain the compliance of its subcontractors with all such obligations
                shall subject CONTRACTOR to the imposition of any and all sanctions
                allowed by law, including but not limited to termination of the
                CONTRACTOR’S Contract with the CITY.

   PSC-29.     AFFIRMATIVE ACTION PROGRAM

   Unless otherwise exempt, this Contract is subject to the affirmative action program
   provisions in Section 10.8.4 of the Los Angeles Administrative Code, as amended from
   time to time.

         A.     During the performance of a CITY contract, CONTRACTOR certifies and
                represents that CONTRACTOR and each subcontractor hereunder will
                adhere to an affirmative action program to ensure that in its employment
                practices, persons are employed and employees are treated equally and
                without regard to or because of race, religion, ancestry, national origin,
                sex, sexual orientation, age, disability, marital status or medical condition.

                1.        This provision applies to work or services performed or materials
                          manufactured or assembled in the United States.

                2 .       Nothing in this section shall require or prohibit the establishment of
                          new classifications of employees in any given craft, work or service
                          category.

                3.        CONTRACTOR shall post a copy of Paragraph A hereof in
                          conspicuous places at its place of business available to employees
                          and applicants for employment.

         B.     CONTRACTOR will, in all solicitations or advertisements for employees
                placed by or on behalf of CONTRACTOR, state that all qualified
                applicants will receive consideration for employment without regard to

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               their race, religion, ancestry, national origin, sex, sexual orientation, age,
               disability, marital status or medical condition.

         C.    As part of the CITY’S supplier registration process, and/or at the request
               of the awarding authority or the Office of Contract Compliance,
               CONTRACTOR shall certify on an electronic or hard copy form to be
               supplied, that CONTRACTOR has not discriminated in the performance of
               CITY contracts against any employee or applicant for employment on the
               basis or because of race, religion, ancestry, national origin, sex, sexual
               orientation, age, disability, marital status or medical condition.

         D.    CONTRACTOR shall permit access to and may be required to provide
               certified copies of all of its records pertaining to employment and to its
               employment practices by the awarding authority or the Office of Contract
               Compliance, for the purpose of investigation to ascertain compliance with
               the Affirmative Action Program provisions of CITY contracts, and on their
               or either of their request to provide evidence that it has or will comply
               therewith.

         E.    The failure of any CONTRACTOR to comply with the Affirmative Action
               Program provisions of CITY contracts may be deemed to be a material
               breach of contract. Such failure shall only be established upon a finding to
               that effect by the awarding authority, on the basis of its own investigation
               or that of the Board of Public Works, Office of Contract Compliance. No
               such finding shall be made except upon a full and fair hearing after notice
               and an opportunity to be heard has been given to CONTRACTOR.

         F.     Upon a finding duly made that CONTRACTOR has breached the
               Affirmative Action Program provisions of a CITY contract, the contract may
               be forthwith cancelled, terminated or suspended, in whole or in part, by
               the awarding authority, and all monies due or to become due hereunder
               may be forwarded to and retained by the CITY. In addition thereto, such
               breach may be the basis for a determination by the awarding authority or
               the Board of Public Works that the said CONTRACTOR is an
               irresponsible bidder or proposer pursuant to the provisions of Section 371
               of the Los Angeles City Charter. In the event of such determination, such
               CONTRACTOR shall be disqualified from being awarded a contract with
               the CITY for a period of two years, or until he or she shall establish and
               carry out a program in conformance with the provisions hereof.

        G.     In the event of a finding by the Fair Employment and Housing Commission
               of the State of California, or the Board of Public Works of the City of Los
               Angeles, or any court of competent jurisdiction, that CONTRACTOR has
               been guilty of a willful violation of the California Fair Employment and
               Housing Act, or the Affirmative Action Program provisions of a CITY
               contract, there may be deducted from the amount payable to
               CONTRACTOR by the CITY under the contract, a penalty of ten dollars

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               ($10.00) for each person for each calendar day on which such person was
               discriminated against in violation of the provisions of a CITY contract.

         H.    Notwithstanding any other provisions of a CITY contract, the CITY shall
               have any and all other remedies at law or in equity for any breach hereof.

               Intentionally blank.

         J.    Nothing contained in CITY contracts shall be construed in any manner so
               as to require or permit any act which is prohibited by law.

         K.    CONTRACTOR shall submit an Affirmative Action Plan which shall meet
               the requirements of this chapter at the time it submits its bid or proposal or
               at the time it registers to do business with the CITY. The plan shall be
               subject to approval by the Office of Contract Compliance prior to award of
               the contract. The awarding authority may also require contractors and
               suppliers to take part in a pre-registration, pre-bid, pre-proposal, or pre­
               award conference in order to develop, improve or implement a qualifying
               Affirmative Action Plan. Affirmative Action Programs developed pursuant
               to this section shall be effective for a period of twelve months from the
               date of approval by the Office of Contract Compliance. In case of prior
               submission of a plan, CONTRACTOR may submit documentation that it
               has an Affirmative Action Plan approved by the Office of Contract
               Compliance within the previous twelve months. If the approval is 30 days
               or less from expiration, CONTRACTOR must submit a new Plan to the
               Office of Contract Compliance and that Plan must be approved before the
               contract is awarded.

               1.     Every contract of $5,000 or more which may provide construction,
                      demolition, renovation, conservation or major maintenance of any
                      kind shall in addition comply with the requirements of Section 10.13
                      of the Los Angeles Administrative Code.

               2.     CONTRACTOR may establish and adopt as its own Affirmative
                     Action Plan, by affixing his or her signature thereto, an Affirmative
                     Action Plan prepared and furnished by the Office of Contract
                     Compliance, or it may prepare and submit its own Plan for
                     approval.

         L.    The Office of Contract Compliance shall annually supply the awarding
               authorities of the CITY with a list of contractors and suppliers who have
               developed Affirmative Action Programs. For each contractor and supplier
               the Office of Contract Compliance shall state the date the approval
               expires. The Office of Contract Compliance shall not withdraw its approval
               for any Affirmative Action Plan or change the Affirmative Action Plan after
               the date of contract award for the entire contract term without the mutual
               agreement of the awarding authority and CONTRACTOR.


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         M.    The Affirmative Action Plan required to be submitted hereunder and the
               pre-registration, pre-bid, pre-proposal or pre-award conference which may
               be required by the Board of Public Works, Office of Contract Compliance
               or the awarding authority shall, without limitation as to the subject or
               nature of employment activity, be concerned with such employment
               practices as:

               1.          Apprenticeship where approved programs are functioning, and
                           other on-the-job training for non-apprenticeable occupations;

               2       .   Classroom preparation for the job when not apprenticeable;

               3.          Pre-apprenticeship education and preparation;

               4.          Upgrading training and opportunities;

               5.          Encouraging the use of contractors, subcontractors and suppliers of
                           all racial and ethnic groups, provided, however, that any contract
                           subject to this ordinance shall require the contractor, subcontractor
                           or supplier to provide not less than the prevailing wage, working
                           conditions and practices generally observed in private industries in
                           the contractor’s, subcontractor’s or supplier’s geographical area for
                           such work;

               6   .       The entry of qualified women, minority and all other journeymen
                           into the industry; and

               7           The provision of needed supplies or job conditions to permit
                           persons with disabilities to be employed, and minimize the impact
                           of any disability.

         N.    Any adjustments which may be made in the contractor’s or supplier’s
               workforce to achieve the requirements of the CITY’S Affirmative Action
               Contract Compliance Program in purchasing and construction shall be
               accomplished by either an increase in the size of the workforce or
               replacement of those employees who leave the workforce by reason of
               resignation, retirement or death and not by termination, layoff, demotion or
               change in grade.

        O.     Affirmative Action Agreements resulting from the proposed Affirmative
               Action Plan or the pre-registration, pre-bid, pre-proposal or pre-award
               conferences shall not be confidential and may be publicized by the
               contractor at his or her discretion. Approved Affirmative Action
               Agreements become the property of the CITY and may be used at the
               discretion of the CITY in its Contract Compliance Affirmative Action
               Program.

        P.     Intentionally blank.

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          Q.     All contractors subject to the provisions of this section shall include a like
                 provision in all subcontracts awarded for work to be performed under the
                 contract with the CITY and shall impose the same obligations, including
                 but not limited to filing and reporting obligations, on the subcontractors as
                 are applicable to the contractor. Failure of the contractor to comply with
                 this requirement or to obtain the compliance of its subcontractors with all
                 such obligations shall subject the contractor to the imposition of any and
                 all sanctions allowed by law, including but not limited to termination of the
                 contractor’s contract with the CITY.

   PSC-30.     CHILD SUPPORT ASSIGNMENT ORDERS

   This Contract is subject to the Child Support Assignment Orders Ordinance, Section
   10.10 of the Los Angeles Administrative Code, as amended from time to time. Pursuant
   to the Child Support Assignment Orders Ordinance, CONTRACTOR will fully comply
   with all applicable State and Federal employment reporting requirements for
   CONTRACTOR’S employees. CONTRACTOR shall also certify (1) that the Principal
   Owner(s) of CONTRACTOR are in compliance with any Wage and Earnings
   Assignment Orders and Notices of Assignment applicable to them personally; (2) that
   CONTRACTOR will fully comply with all lawfully served Wage and Earnings
   Assignment Orders and Notices of Assignment in accordance with Section 5230, et seq.
   of the California Family Code; and (3) that CONTRACTOR will maintain such
   compliance throughout the term of this Contract.

   Pursuant to Section 10.10(b) of the Los Angeles Administrative Code, the failure of
   CONTRACTOR to comply with all applicable reporting requirements or to implement
   lawfully served Wage and Earnings Assignment Orders or Notices of Assignment, or the
   failure of any Principal Owner(s) of CONTRACTOR to comply with any Wage and
   Earnings Assignment Orders or Notices of Assignment applicable to them personally,
   shall constitute a default by the CONTRACTOR under this Contract, subjecting this
   Contract to termination if such default shall continue for more than ninety (90) days after
   notice of such default to CONTRACTOR by the CITY.

  Any subcontract entered into by CONTRACTOR, to the extent allowed hereunder, shall
  include a like provision for work to be performed under this Contract. Failure of
  CONTRACTOR to obtain compliance of its subcontractors shall constitute a default by
  CONTRACTOR under this Contract, subjecting this Contract to termination where such
  default shall continue for more than ninety (90) days after notice of such default to
  CONTRACTOR by the CITY.

  CONTRACTOR certifies that, to the best of its knowledge, it is fully complying with the
  Earnings Assignment Orders of all employees, and is providing the names of all new
  employees to the New Hire Registry maintained by the Employment Development
  Department as set forth in Section 7110(b) of the California Public Contract Code.




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   PSC-31.    LIVING WAGE ORDINANCE AND SERVICE CONTRACTOR WORKER
              RETENTION ORDINANCE

         A.     Unless otherwise exempt, this Contract is subject to the applicable
                provisions of the Living Wage Ordinance (LWO), Section 10.37 et seq. of
                the Los Angeles Administrative Code, as amended from time to time, and
                the Service Contractor Worker Retention Ordinance (SCWRO), Section
                10.36 et seq., of the Los Angeles Administrative Code, as amended from
                time to time. These Ordinances require the following:

                1.     CONTRACTOR assures payment of a minimum initial wage rate to
                      employees as defined in the LWO and as may be adjusted each
                      July 1 and provision of compensated and uncompensated days off
                      and health benefits, as defined in the LWO.

                2.    CONTRACTOR further pledges that it will comply with federal law
                      proscribing retaliation for union organizing and will not retaliate for
                      activities related to the LWO. CONTRACTOR shall require each of
                      its subcontractors within the meaning of the LWO to pledge to
                      comply with the terms of federal law proscribing retaliation for union
                      organizing. CONTRACTOR shall deliver the executed pledges
                      from each such subcontractor to the CITY within ninety (90) days of
                      the execution of the subcontract. CONTRACTOR’S delivery of
                      executed pledges from each such subcontractor shall fully
                      discharge the obligation of CONTRACTOR with respect to such
                      pledges and fully discharge the obligation of CONTRACTOR to
                      comply with the provision in the LWO contained in Section
                      10.37.6(c) concerning compliance with such federal law.

                3.    CONTRACTOR, whether an employer, as defined in the LWO, or
                      any other person employing individuals, shall not discharge, reduce
                      in compensation, or otherwise discriminate against any employee
                      for complaining to the CITY with regard to the employer’s
                      compliance or anticipated compliance with the LWO, for opposing
                      any practice proscribed by the LWO, for participating in
                      proceedings related to the LWO, for seeking to enforce his or her
                      rights under the LWO by any lawful means, or otherwise asserting
                      rights under the LWO. CONTRACTOR shall post the Notice of
                      Prohibition Against Retaliation provided by the CITY.

                4.    Any subcontract entered into by CONTRACTOR relating to this
                      Contract, to the extent allowed hereunder, shall be subject to the
                      provisions of PSC-31 and shall incorporate the provisions of the
                      LWO and the SCWRO.




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                5.     CONTRACTOR shall comply with all rules, regulations and policies
                       promulgated by the CITY’S Designated Administrative Agency
                       which may be amended from time to time.

         B.     Under the provisions of Sections 10.36.3(c) and 10.37.6(c) of the Los
                Angeles Administrative Code, the CITY shall have the authority, under
                appropriate circumstances, to terminate this Contract and otherwise
                pursue legal remedies that may be available if the CITY determines that
                the subject CONTRACTOR has violated provisions of either the LWO or
                the SCWRO, or both.

         C.     Where under the LWO Section 10.37.6(d), the CITY’S Designated
                Administrative Agency has determined (a) that CONTRACTOR is in
                violation of the LWO in having failed to pay some or all of the living wage,
                and (b) that such violation has gone uncured, the CITY in such
                circumstances may impound monies otherwise due CONTRACTOR in
                accordance with the following procedures. Impoundment shall mean that
                from monies due CONTRACTOR, CITY may deduct the amount
                determined to be due and owing by CONTRACTOR to its employees.
                Such monies shall be placed in the holding account referred to in LWO
                Section 10.37.6(d)(3) and disposed of under procedures described therein
                through final and binding arbitration. Whether CONTRACTOR is to
                continue work following an impoundment shall remain in the sole
                discretion of the CITY. CONTRACTOR may not elect to discontinue work
                either because there has been an impoundment or because of the
                ultimate disposition of the impoundment by the arbitrator.

         D.     CONTRACTOR shall inform employees making less than Twelve Dollars
                ($12.00) per hour of their possible right to the federal Earned Income
                Credit (EIC). CONTRACTOR shall also make available to employees the
                forms informing them about the EIC and forms required to secure advance
                EIC payments from CONTRACTOR.

   PSC-32.    AMERICANS WITH DISABILITIES ACT

  CONTRACTOR hereby certifies that it will comply with the Americans with Disabilities
  Act, 42 U.S.C. §§ 12101 et seq., and its implementing regulations. CONTRACTOR will
  provide reasonable accommodations to allow qualified individuals with disabilities to
  have access to and to participate in its programs, services and activities in accordance
  with the provisions of the Americans with Disabilities Act. CONTRACTOR will not
  discriminate against persons with disabilities nor against persons due to their
  relationship to or association with a person with a disability. Any subcontract entered
  into by CONTRACTOR, relating to this Contract, to the extent allowed hereunder, shall
  be subject to the provisions of this paragraph.




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   PSC-33.    CONTRACTOR RESPONSIBILITY ORDINANCE

   Unless otherwise exempt, this Contract is subject to the provisions of the Contractor
   Responsibility Ordinance, Section 10.40 et seq., of the Los Angeles Administrative
   Code, as amended from time to time, which requires CONTRACTOR to update its
   responses to the responsibility questionnaire within thirty calendar days after any
   change to the responses previously provided if such change would affect
   CONTRACTOR’S fitness and ability to continue performing this Contract.

    In accordance with the provisions of the Contractor Responsibility Ordinance, by signing
   this Contract, CONTRACTOR pledges, under penalty of perjury, to comply with all
   applicable federal, state and local laws in the performance of this Contract, including but
   not limited to, laws regarding health and safety, labor and employment, wages and
   hours, and licensing laws which affect employees. CONTRACTOR further agrees to:
   (1) notify the CITY within thirty calendar days after receiving notification that any
   government agency has initiated an investigation which may result in a finding that
   CONTRACTOR is not in compliance with all applicable federal, state and local laws in
   performance of this Contract; (2) notify the CITY within thirty calendar days of all
   findings by a government agency or court of competent jurisdiction that CONTRACTOR
   has violated the provisions of Section 10.40.3(a) of the Contractor Responsibility
   Ordinance; (3) unless exempt, ensure that its subcontractor(s), as defined in the
   Contractor Responsibility Ordinance, submit a Pledge of Compliance to the CITY; and
   (4) unless exempt, ensure that its subcontractor(s), as defined in the Contractor
   Responsibility Ordinance, comply with the requirements of the Pledge of Compliance
   and the requirement to notify the CITY within thirty calendar days after any government
   agency or court of competent jurisdiction has initiated an investigation or has found that
   the subcontractor has violated Section 10.40.3(a) of the Contractor Responsibility
   Ordinance in performance of the subcontract.

   PSC-34.    MINORITY. WOMEN, AND OTHER BUSINESS ENTERPRISE OUTREACH
              PROGRAM

   CONTRACTOR agrees and obligates itself to utilize the services of Minority, Women
   and Other Business Enterprise firms on a level so designated in its proposal, if any.
   CONTRACTOR certifies that it has complied with Mayoral Directive 2001-26 regarding
   the Outreach Program for Personal Services Contracts Greater than $100,000, if
   applicable. CONTRACTOR shall not change any of these designated subcontractors,
   nor shall CONTRACTOR reduce their level of effort, without prior written approval of the
   CITY, provided that such approval shall not be unreasonably withheld.

   PSC-35.    EQUAL BENEFITS ORDINANCE

   Unless otherwise exempt, this Contract is subject to the provisions of the Equal Benefits
   Ordinance (EBO), Section 10.8.2.1 of the Los Angeles Administrative Code, as
   amended from time to time.




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          A.     During the performance of the Contract, CONTRACTOR certifies and
                 represents that CONTRACTOR will comply with the EBO.

          B.     The failure of CONTRACTOR to comply with the EBO will be deemed to
                 be a material breach of this Contract by the CITY.

          C.     If CONTRACTOR fails to comply with the EBO the CITY may cancel,
                 terminate or suspend this Contract, in whole or in part, and all monies due
                 or to become due under this Contract may be retained by the CITY. The
                 CITY may also pursue any and all other remedies at law or in equity for
                 any breach.

          D      Failure to comply with the EBO may be used as evidence against
                 CONTRACTOR in actions taken pursuant to the provisions of Los Angeles
                 Administrative Code Section 10.40 et seq., Contractor Responsibility
                 Ordinance.

          E.    If the CITY’S Designated Administrative Agency determines that a
                CONTRACTOR has set up or used its contracting entity for the purpose of
                evading the intent of the EBO, the CITY may terminate the Contract.
                Violation of this provision may be used as evidence against
                CONTRACTOR in actions taken pursuant to the provisions of Los Angeles
                Administrative Code Section 10.40 et seq., Contractor Responsibility
                Ordinance.

   CONTRACTOR shall post the following statement in conspicuous places at its place of
   business available to employees and applicants for employment:

                “During the performance of a Contract with the City of Los Angeles,
                the Contractor will provide equal benefits to its employees with
                spouses and its employees with domestic partners. Additional
                information about the City of Los Angeles’ Equal Benefits
                Ordinance may be obtained from the Department of Public Works,
                Office of Contract Compliance at (213) 847-1922.”

   PSC-36.     SLAVERY DISCLOSURE ORDINANCE

   Unless otherwise exempt, this Contract is subject to the Slavery Disclosure Ordinance,
   Section 10.41 of the Los Angeles Administrative Code, as amended from time to time.
   CONTRACTOR certifies that it has complied with the applicable provisions of the
   Slavery Disclosure Ordinance. Failure to fully and accurately complete the affidavit may
   result in termination of this Contract.




  STANDARD PROVISIONS
  FOR CITY CONTRACTS (Rev. 3/09)         Exhibit
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   Form Gen. 133 (Rev. 3/09)



                                               EXHIBIT 1

                               INSURANCE CONTRACTUAL REQUIREMENTS

   CONTACT For additional information about compliance with City Insurance and Bond
   requirements, contact the Office of the City Administrative Officer, Risk Management at (213)
   978-RISK (7475) or go online at www.lacitv.org/cao/risk. The City approved Bond Assistance
   Program is available for those contractors who are unable to obtain the City-required
   performance bonds. A City approved insurance program may be available as a low cost
   alternative for contractors who are unable to obtain City-required insurance.

   CONTRACTUAL REQUIREMENTS

   CONTRACTOR AGREES THAT:

            1. Additional Insured/Loss Payee. The CITY must be included as an Additional
   Insured in applicable liability policies to cover the CITY’S liability arising out of the acts or
   omissions of the named insured. The CITY is to be named as an Additional Named Insured and
   a Loss Payee As Its Interests May Appear in property insurance in which the CITY has an
   interest, e.g., as a lien holder.

           2.          Notice of Cancellation. All required insurance will be maintained in full force for the
   duration of its business with the CITY. By ordinance, all required insurance must provide at
   least thirty (30) days' prior written notice (ten (10) days for non-payment of premium) directly to
   the CITY if your insurance company elects to cancel or materially reduce coverage or limits prior
   to the policy expiration date, for any reason except impairment of an aggregate limit due to prior
   claims.

           3.         Primary Coverage. CONTRACTOR will provide coverage that is primary with
   respect to any insurance or self-insurance of the CITY. The CITY’S program shall be excess of
   this insurance and non-contributing.

            4. Modification of Coverage. The CITY reserves the right at any time during the term
   of this Contract to change the amounts and types of insurance required hereunder by giving
   CONTRACTOR ninety (90) days’ advance written notice of such change. If such change should
   result in substantial additional cost to CONTRACTOR, the CITY agrees to negotiate additional
   compensation proportional to the increased benefit to the CITY.

           5. Failure to Procure Insurance. All required insurance must be submitted and
   approved by the Office of the City Administrative Officer, Risk Management prior to the
   inception of any operations by CONTRACTOR.

  CONTRACTOR'S failure to procure or maintain required insurance or a self-insurance program
  during the entire term of this Contract shall constitute a material breach of this Contract under
  which the CITY may immediately suspend or terminate this Contract or, at its discretion, procure
  or renew such insurance to protect the CITY'S interests and pay any and all premiums in
  connection therewith and recover all monies so paid from CONTRACTOR.

           6. Workers’ Compensation. By signing this Contract, CONTRACTOR hereby certifies
  that it is aware of the provisions of Section 3700 et seq., of the California Labor Code which
  require every employer to be insured against liability for Workers' Compensation or to undertake


  STANDARD PROVISIONS
  FOR CITY CONTRACTS (Rev. 3/09)             Exhibit
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   Form Gen. 133 (Rev. 3/09)



   self-insurance in accordance with the provisions of that Code, and that it will comply with such
   provisions at all time during the performance of the work pursuant to this Contract.

           7. California Licensee. All insurance must be provided by an insurer admitted to do
   business in California or written through a California-licensed surplus lines broker or through an
   insurer otherwise acceptable to the CITY. Non-admitted coverage must contain a Service of
   Suit clause in which the underwriters agree to submit as necessary to the jurisdiction of a
   California court in the event of a coverage dispute. Service of process for this purpose must be
   allowed upon an agent in California designated by the insurer or upon the California Insurance
   Commissioner.

           8. Aggregate Limits/Impairment. If any of the required insurance coverages contain
   annual aggregate limits, CONTRACTOR must give the CITY written notice of any pending
   claim or lawsuit which will materially diminish the aggregate within thirty (30) days of knowledge
   of same. You must take appropriate steps to restore the impaired aggregates or provide
   replacement insurance protection within thirty (30) days of knowledge of same. The CITY has
   the option to specify the minimum acceptable aggregate limit for each line of coverage required.
   No substantial reductions in scope of coverage which may affect the CITY’S protection are
   allowed without the CITY’S prior written consent.

           9. Commencement of Work. For purposes of insurance coverage only, this Contract
   will be deemed to have been executed immediately upon any party hereto taking any steps that
   can be considered to be in furtherance of or towards performance of this Contract. The
   requirements in this Section supersede all other sections and provisions of this Contract,
   including, but not limited to, PSC-4, to the extent that any other section or provision conflicts
   with or impairs the provisions of this Section.




  STANDARD PROVISIONS
  FOR CITY CONTRACTS (Rev. 3/09)             Exhibit
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Form Gen. 146 (Rev. 3/09)



                                            Exhibit 1 (Continued)
                                   Required Insurance and Minimum Limits
Name:                                                                                  Date:

Agreement/Reference: ____________________________________________________________________________________
Evidence of coverages checked below, with the specified minimum limits, must be submitted and approved prior to
occupancy/start of operations. Amounts shown are Combined Single Limits (“CSLs”). For Automobile Liability, split
limits may be substituted for a CSL if the total per occurrence equals or exceeds the CSL amount.

                                                                                                                           Limits

___ Workers’ Compensation - Workers’ Compensation (WC) and Employer’s Liability (EL)                           WC   Statutory
                                                                                                               EL
         CD Waiver of Subrogation in favor of City           □ Longshore & Harbor Workers
                                                             O Jones Act


     General Liability ________________

         ED Products/Completed Operations                   [H Sexual Misconduct
         □ Fire Legal Liability_________
         □

__ Automobile Liability (for any and all vehicles used for this Contract, other than commuting to/from work)


___ Professional Liability (Errors and Omissions)


    Property Insurance (to cover replacement cost of building - as determined by insurance company)

         O All Risk Coverage                                D Boiler and Machinery
         D Flood__________                                  Dl Builder’s Risk
         EH Earthquake_____                                 □
    Pollution Liability

         □

    Surety Bonds - Performance and Payment (Labor and Materials) Bonds                                    100 % of Contract Price
    Crime Insurance


Other:




         STANDARD PROVISIONS
         FOR CITY CONTRACTS (Rev. 3/09)                  Exhibit
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                          EXHIBIT D




                                    Exhibit D
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       SEC. 21.15.2. TAX IMPOSED.

  For the privilege of occupying space in any parking facility in the City of Los Angeles, each occupant is subject to and shall pay a tax
in the amount of ten percent (10%) of the parking fee. The tax imposed by this article shall be paid upon any occupancy on and after
August 1, 1990, although such occupancy is pursuant to a contract, lease or other arrangement made prior to such date. Where the
parking fee is paid, or charged or billed, or falls due on either a weekly, monthly or other term basis, the parking fee so paid, charged,
billed or fallen due shall be subject to the tax herein imposed to the extent that it covers any portion of the period occurring on or after
August 1, 1990 and such payment, charge, bill or parking fee due shall be apportioned on the basis of the proration of the number of days
covered thereby. In computing the tax herein imposed, the fractional part of one cent shall be disregarded unless it amounts to one-half of
one cent or more, in which case the amount shall be increased to the next highest cent. The tax herein imposed constitutes a debt owed
by the occupant to the City, which is extinguished by payment to the operator or the City.




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                           EXHIBIT E




                                    Exhibit E
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     SEC. 80.77.1. VEHICLE RELEASE FEE.
 (Amended by Ord. No. 173,301, Eff. 6/30/00, Oper. 7/1/00.)

  (a) Every person who redeems a vehicle or pocket bike from an Official Police Garage that was impounded at the direction of any
City of Los Angeles Police or Traffic Officer for a violation of any provision of state or local law shall pay a fee of $115.00 per vehicle or
pocket bike to reimburse the City for costs related to the impound. (Amended by Ord. No. 181,312, Eff. 10/25/10.)

  (b) The fee imposed by this section shall be paid to the operator of the Official Police Garage at the same time the towing and storage
charges are paid. The fee imposed herein constitutes a debt owed to the City which is extinguished by payment to the operator.

  (c) Each operator of an Official Police Garage shall collect the fee imposed by this section at the same time the towing and storage
charges are collected.

   (d) Each operator shall, on the 15th day and last day of each calendar month, make a statement to the Office of Finance, on forms
provided by the Office of Finance, of the total amount of fees imposed by this section collected for said period. At the time the statement
is filed, the full amount of said fees collected shall be remitted to the Office of Finance. However, the statement and remittance are due
immediately upon the cessation of business by an operator for any reason. All fees collected by each operator pursuant to this section
shall be held in trust for the account of the City until remittance thereof is made to the Office of Finance. (Amended by Ord. No.
181,698, Eff. 6/18/11.)

  (e) Any fees imposed by that section which are not collected by an operator or that are collected by an operator and not remitted to the
Office of Finance within 15 days of the applicable dates set forth in Subsection (d) hereof are delinquent. A penalty for delinquency in
the remittance of fees shall be paid by the operator to the Office of Finance in the amount of 25 percent of the amount of the delinquent
fees. (Amended by Ord. No. 181,698, Eff. 6/18/11.)

  (f) It shall be the duty of each operator liable for the collection and remittance to the City of fees imposed by this section to keep and
preserve for a period of four years all records as may be necessary to determine the amount of said fees for which said operator may have
been liable for the collection and remittance to the City, which records the Office of Finance shall have the right to inspect at all
reasonable times.

  (g) Any fees imposed by this section which are not collected by an operator or which are collected by an operator and not remitted to
the Office of Finance shall be deemed a debt owed by the operator to the City. Any operator who fails to collect any fees imposed by
this section or who fails to remit to the Office of Finance any fees collected under this section shall be liable in an action brought in the
name of the City for the recovery of the amount of such fees.




                                                              Exhibit E
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                           EXHIBIT F




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  The Official Website of the City of Los Angeles



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  Home       (   Highlights
      ( Winter Shelters Open for People Experiencing Homelessness


  Winter Shelters Open for People
  Experiencing Homelessness
  Posted on 02/22/2023

  With temperatures dropping in Los Angeles, it's important to remember
  that not everyone has a place to go to stay warm and dry. If you or
  someone you know is in need of shelter during the winter months, there
  are resources available to help.

  The Los Angeles Homeless Services Authority (LAHSA) operates a yearly
  winter shelter program from December through March that provides
  emergency shelter for those experiencing homelessness during the
  coldest months of the year. The program provides a range of services
  such as meals, showers, and case management support that can help
  them transition out of homelessness and into stable housing.

  In addition to the winter shelter program, LAHSA also offers motel
  vouchers for individuals and families during times of extreme weather
  conditions.

  To access these services, please visit https://www.lahsa.org/winter-
  shelter or call 2-1-1 to receive a referral to the nearest shelter or to
  request a motel voucher. It's important to act quickly when severe
  weather is expected, as shelters and vouchers can fill up quickly.
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